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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


 CENTER FOR BIOLOGICAL DIVERSITY, ET
 AL.
                Plaintiffs,
           v.
                                                       CASE NO. 1:21-cv-00119 (RDM)
 U.S. ENVIRONMENTAL PROTECTION
 AGENCY, ET AL.
                Defendants.



                              ______________________________

                      STATE OF FLORIDA AND
 FLORIDA DEPARTMENT OF ENVIRONMENTAL PROTECTION’S OPPOSITION
  TO MOTION FOR SUMMARY JUDGMENT AND CROSS-MOTION TO DISMISS
                   ______________________________

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                                       INTRODUCTION

       The Florida Constitution and Florida Statutes prioritize protection of the State’s water

resources. In furtherance of this policy, Florida invests billions of dollars into restoration,

protection, and management of these resources under the close purview of the Florida Department

of Environmental Protection (“FDEP”) and the State’s five Water Management Districts. The

Federal Clean Water Act (“CWA”), likewise, recognizes the primary responsibility of the States

over water resources, 33 U.S.C. § 1251(b), and directly encourages all States to assume

responsibility for administering the CWA Section 404 program for the protection of wetlands and

other water resources. 33 U.S.C. § 1344(g). Florida accepted Congress’ invitation. After enacting

new State laws, adopting new State regulations, compiling a voluminous Federal application,

engaging in an exhaustive stakeholder engagement process, and standing-up a new regulatory

program that builds upon a longstanding State wetlands program, Florida officially obtained

approval from the U.S. Environmental Protection Agency (“EPA”) on December 17, 2020 for its

own Section 404 Program.1 This was a historic achievement that will benefit Florida’s wetlands

and citizens.

       Throughout the assumption process, the State of Florida, EPA, and the other Federal and

State agencies took special care to ensure that Florida’s program complied with Federal law while

reducing redundancies associated with other existing State water resources programs. Following

approval, Florida began administering the new State 404 Program in close coordination with EPA,




1
  Florida Intervenors are filing a consolidated opposition brief and cross-motion to dismiss, with
less than 65 pages in total combined length. To the extent the Court views the page limitation of
Local Civil Rule 7(e) as applicable, Florida Intervenors filed an unopposed motion for leave to file
this consolidated submittal. See Dkt. 33.



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the U.S. Army Corps of Engineers (“Corps”), and other agencies, and in compliance with Federal

standards. Florida is proud to lead the way by assuming this important responsibility.

       Preferring a Federal program without State assumption, Plaintiffs now seek to frustrate

Congress’ clear objectives by, among other things, claiming that EPA violated inapplicable

procedural requirements that have no bearing on EPA’s approval under review. Plaintiffs move

for summary judgment on two claims: Claim 8, that EPA should have delayed the effective date

of its approval of Florida’s program for thirty days; and Claim 9, that EPA was required to codify

the approval of Florida’s program in the Code of Federal Regulations before it could become

effective. Plaintiffs’ motion should be denied because they lack standing to raise these procedural

claims, and regardless, neither claim has merit.

       Relatedly, all of Plaintiffs’ claims should be dismissed because they are not justiciable.

First, Plaintiffs have not shown that they would suffer any actual or imminent, particularized injury

to their or their members’ cognizable interests arising from Florida’s increased responsibility over

Section 404 permitting actions. This is especially true considering EPA’s and other Federal

agencies’ significant role in continuing to oversee Florida’s program by reviewing, commenting

on, and retaining the authority to take over permit actions that EPA finds objectionable.

Additionally, the Florida Program provides numerous opportunities for Plaintiffs’ robust

participation in the permitting process, including multiple avenues for review (administrative and

judicial) and a guaranteed stay of permit approval under State law where review is sought. In short,

under Florida’s program as actually approved by EPA (and not the caricature provided by

Plaintiffs), Plaintiffs would suffer no harm relative to the status quo ante. Second, due to the

statutorily rare “deemed approved” provision in Section 404(h), Plaintiffs’ claims are not

redressable and are moot by operation of law because under that provision, even if EPA had taken




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no action whatsoever following the submittal of Florida’s application, Florida’s program still

would have been “deemed approved.” For these reasons, Florida Intervenors’ cross-motion to

dismiss Plaintiffs’ entire action is due to be granted.

                                          BACKGROUND

I.     Legal Background

       A.      State Assumption under CWA Section 404

       Built on cooperative federalism, the CWA recognizes shared stewardship responsibilities

among the States and Federal government over water resources. 33 U.S.C. § 1251(b). To protect

these resources, Congress created two CWA permit programs: one program under Section 402 to

control point-source pollution to surface waters (known as the National Pollutant Discharge

Elimination System (“NPDES”) program) and another under Section 404 to regulate the dredge or

fill of surface waters. Id. §§ 1342, 1344. Through these programs (as well as Section 401’s state

water quality certifications), Congress preserved for the States the “primary responsibilities and

rights” to prevent water resources pollution, expressly stating: “It is the policy of Congress that

the States . . . implement the permit programs under sections [402] and [404].” Id. § 1251(b). To

that end, Sections 402 and 404 invite States to seek EPA’s approval to administer State-level

permit programs in place of these federal permit programs. Id. §§ 1342(b), 1344(g). Over 40 States

have obtained approval to administer State NPDES programs under Section 402, while three

States—Michigan, New Jersey, and Florida—have assumed responsibility for administering their

own Section 404 programs. EPA has adopted implementing regulations to govern Section 404

State assumptions found at 40 C.F.R. Part 233.

       Under CWA Section 404(g), any State may submit an application to EPA to obtain

approval to “administer its own individual and general permit program for the discharge of dredged

or fill material into the navigable waters [that are assumable] within its jurisdiction…” Id.


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§ 1344(g)(1). A State may assume responsibility for navigable waters under Section 404 if those

waters are within the jurisdiction of the State; however, a State may not assume responsibility over

waters that are “presently used, or are susceptible to use in their natural condition or by reasonable

improvement as a means to transport interstate or foreign commerce shoreward to their ordinary

high water mark, including all waters which are subject to the ebb and flow of the tide shoreward

to their mean high water mark, or mean higher high water mark on the west coast, including

wetlands adjacent thereto.” Id.; see also Mem. from R.D. James (Assistant Secretary of the Army,

Civil Works) on Assumable Waters (July 30, 2018) (AR-0662).2

       In turn, Section 404(h)(1) describes the “authority” that the State must have in place in

order to assume the Section 404 program. Among other things, States must possess authority to

issue permits that (1) “assure compliance” with applicable Federal CWA guidelines; (2) contain

adequate mechanisms for inspecting, monitoring, reporting, recordkeeping, and enforcing

violations; and (3) allow for adequate public involvement. Id. § 1344(h)(1)(A)-(H). Section

404(h)(2) provides that EPA “shall approve” a State 404 program within 120 days of receiving the

application if EPA determines that the State has the legal authority under State law to administer

the program consistent with Section 404(h)(1). Id. § 1344(g)(2). If EPA determines that the State

does not have the necessary authority, EPA must notify the State before the end of the 120-day

period and “describe the revisions or modifications necessary” so that the State can resubmit the

program for approval. Id. § 1344(h)(2)(B).

       If EPA “fails to make a determination” on a State application within 120 days of receiving

the application, the State program “shall be deemed approved.” Id. § 1344(h)(3). In that scenario,

“the program is deemed approved and the Administrator must so notify the State and the Secretary


2
 Florida Intervenors will use Plaintiffs’ citation convention for the Administration Record (AR).
See Dkt. 31 at 2 n. 2.


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who shall suspend the issuance of permits under subsections (a) and (e) of section 404 for activities

covered by the State program.” H. Rep. No. 95-890, at 101 (1977), reprinted in 1977 U.S.C.C.A.N.

4424. EPA “cannot disapprove a [State 404] program because [EPA] has not completed [its]

review of it—the disapproval must be a positive one that the State does not have the requisite

authority.” S. Rep. No. 95-370, at 358 (1977). The Section 404 assumption provisions thus sought

to ensure “expedited” transfer of responsibility to the States. 122 Cong. Rec. S28,771-99, S28,774

(1976). In short, Congress created the state assumption process, including the 120-day “deemed

approved” requirement, to prevent delays in achieving a congressional policy objective: “that the

States ... implement the permit programs under [Section 404].” 33 U.S.C. § 1251(b).

       B.      Federal Oversight of State 404 Programs

       After approving a State program, EPA maintains an active role to ensure compliance with

the requirements of Federal law. Id. § 1344(i)-(j). First, EPA oversees the State permitting process

to ensure continued compliance with Federal requirements. Id. § 1344(h); 40 C.F.R. § 233, Subpart

F (“Federal Oversight”). For example, unless a kind of activity is exempted by EPA under Section

404(k)(1), a State must provide EPA with a “copy of each permit application received by such

State and provide notice to [EPA] of every action related to the consideration of such permit

application, including each permit proposed to be issued by such State,” along with a “copy of

each proposed general permit which such State intends to issue.” Id. § 1344(j). EPA may provide

comments or otherwise “object” to the issuance of any permit by the State. Id. And EPA may hold

a public hearing on its objection. Id. Ultimately, if the State rejects EPA’s comments or changes,

the State must deny the permit or that particular permit must be federalized (i.e., the Corps takes

over issuance of that particular permit). Id.; see also Mem. of Agreement between FDEP and EPA

(July 31, 2020) (AR-0018 at 7-9); Fla. Admin. Code § 331.052(3)(b) (AR-0002-A48 at 8-9).

Besides EPA and the Corps, other Federal agencies also have significant opportunities for


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involvement in State 404 permits. See, e.g., 33 U.S.C. §§ 1344(h)(1)(F) (U.S. Coast Guard);

1344(m) (U.S. Fish and Wildlife Service); see also 40 C.F.R. § 233.15(d) (requiring EPA to submit

copies of the State’s submission to the Corps, FWS, and NMFS); 40 C.F.R. § 233.15(g) (requiring

EPA to respond to comments from those agencies).

       Second, EPA remains actively involved in the administration of the State program as a

whole. Any State seeking to administer its own Section 404 program must enter a memorandum

of agreement with EPA that, among other things, requires submission of regular “reports,

documents and other information” to EPA along with an “annual report” documenting the State’s

administration of its program. 40 C.F.R. § 233.13. States are also required to “allow EPA routinely

to review State records, reports and files relevant to the administration and enforcement of the

approved program.” Id. § 233.13(b)(2); see also id. § 233.52 (“Program reporting”).

       Third, where a State program does not comply with Federal standards, EPA may seek to

withdraw the program. 33 U.S.C. § 1344(i). EPA regulations set forth the withdrawal process,

which includes an opportunity for the State to “take corrective action”; an “informal review” to

determine whether “cause exists” to commence formal proceedings; a formal hearing on the record

that is announced in the Federal Register; completion of proceedings in general conformance with

EPA’s Consolidated Rules of Practice found at 40 C.F.R. Part 22 (with opportunities for interested

parties to intervene as parties or participate as amici curiae); a recommended decision by a hearing

officer with compilation of a full hearing record; and ultimately a determination by the

Administrator of EPA with a “list” of “deficiencies in the program” (if any) and “providing the

State a reasonable time, not to exceed 90 days, to take such appropriate corrective action as the

Administrator determines necessary.” 40 C.F.R. § 233.53(b)-(c). If the State fails to correct the

deficiencies, EPA “shall issue a supplementary order withdrawing approval of the State program,”




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and such order “shall constitute final Agency action” subject to judicial review under the

Administrative Procedure Act. Id. § 233.53(c)(8)(vi)-(vii). Withdrawal proceedings can be

initiated by EPA “or in response to a petition from an interested person alleging failure of the State

to comply” with Federal requirements. 40 C.F.R. § 233.53(c). Thus, the Section 404 assumption

process ensures expedited admission of States into the program, with ongoing federal oversight

and a careful, deliberate process for correcting or withdrawing deficient State programs.

       Where a State has not assumed responsibility for its own Section 404 program or has its

program withdrawn, the Corps retains responsibility to issue permits authorizing the “discharge of

dredged or fill material into the navigable waters at specified disposal sites.” 33 U.S.C. § 1344(a).

In that context, where the federal-state roles are reversed from Congress’ preferred alignment,

States play a supplementary role in the Federal 404 permitting process, including, for example,

through the process of certifying that Corps permitting actions comply with State water quality

standards pursuant to CWA Section 401, 33 U.S.C. § 1341, and state concurrence review under

the Coastal Zone Management Act, 16 U.S.C. §§ 1451, et seq.

       C.      EPA’s Consistent Use of “Notices” to Approve State CWA Programs

       From the earliest days of the CWA, EPA approved State CWA programs through “notices”

that were effective upon transmitting the approval letter to the State. See, e.g., 39 Fed. Reg. 26,061

(July 16, 1974) (“Notice is hereby given that [EPA] has granted requests for approval of [15] State

programs listed below …. For each of these States, the permit program … is being administered

by the State agency … as of the approval date”). This makes sense because the statute expressly

says (1) EPA “shall approve the program and so notify” the State; and (2) after the State provides

“subsequent notification” to the Corps that it is “administering such program,” the Federal permit

process is suspended and transferred to the State. 33 U.S.C. § 1344(h)(2)(A). Thus, the statutory




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mechanism for approving a State program is a “notice” from EPA to the State, which in turn

immediately triggers the State’s ability to begin “administering” the program.

       EPA formalized its practice of approving State 404 programs via notices that are effective

immediately upon publication in the Federal Register. 53 Fed. Reg. 20,764, 20,767 (June 6, 1988)

(adopting 40 C.F.R. Part 233). EPA used “effective immediately” language in the Federal Register

notices approving Section 404 programs for Michigan (1984) and New Jersey (1994): “Since this

approval, in large part, simply ratifies State regulations and requirements already in effect under

State law, EPA is publishing this approval, effective immediately.” 49 Fed. Reg. 38,947 (Oct. 2,

1984) (emphasis added); 59 Fed. Reg. 9,933 (Mar. 2, 1994) (same language). Likewise, EPA has

continued to approve State CWA programs under Section 402 via notices that are effective upon

approval. See, e.g., 83 Fed. Reg. 27,769 (Jun. 14, 2018) (approving Idaho application to administer

CWA discharge permit program effective upon approval); 73 Fed. Reg. 66,243 (Nov. 7, 2008)

(Alaska); 67 Fed. Reg. 79,629 (Dec. 30, 2002) (Arizona); 60 Fed. Reg. 25,718 (May 12, 1995)

(Florida); see also 63 Fed. Reg. 51,164 (Sep. 24, 1998) (approving the Texas NPDES program

effective prior to publication in Federal Register); 66 Fed. Reg. 12,791 (Feb. 28, 2001) (described

approval of Maine NPDES program as “notice; final approval” and effective prior to publication

in Federal Register). EPA has consistently treated these notices as orders. Dkt. 35 at 14, 31.

       EPA regularly approves State applications to operate CWA permit programs via informal

adjudication. 66 Fed. Reg. at 12,795 (approving Maine’s CWA program and explaining that EPA

has “long considered a determination to approve or deny a State NPDES program submission to

constitute an adjudication”). This has been the consistent position of the agency since at least 1978.

Id. at 12,795 (explaining that, since “General Counsel Opinion 78–7 (April 18, 1978), EPA has

long considered a determination to approve or deny a State NPDES program submission to




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constitute an adjudication”); see also 63 Fed. Reg. 51,164 (Sep. 24, 1998) (approving the Texas

NPDES program and explaining that approval of the state program application is an adjudication).

Concomitantly, EPA also uses adjudication when considering withdrawal of a State 404 program.

33 C.F.R. § 233.53(c).

II.    Factual Background

       A.      Florida’s Section 404 Program Application

       The Florida Constitution establishes the “policy of the state to conserve and protect its

natural resources and scenic beauty,” with “[a]dequate provision” for the “conservation and

protection of natural resources.” Fla. Const. Art. II, Sec. 7(a). Florida law further declares that it

is “the public policy of [Florida] to conserve the waters of the state,” Fla. Stat. § 403.021(2), and

“to provide for the management of water and related land resources,” id. § 373.016(3)(a). For

decades, the State of Florida, through FDEP, has administered a State permit program known as

the Environmental Resource Permit (“ERP”) Program, which regulates dredging or filling of

wetlands and other surface waters in Florida (among other things). This State program closely

resembles the Federal Section 404 program in many respects, although the State program applies

to all Florida waters, not merely the “waters of the United States” regulated under Section 404.

(AR-0007-A1 at 5-6; AR-0016 at App. J-3, “ERP Comparison with Federal Requirements”; AR-

0017 at 3). At the same time, the State of Florida and its citizens have experienced significant

delays and challenges in relying upon the Corps for the administration of Section 404 permitting

within the State. See, e.g., Letter from Rep. Diaz-Balart (R-FL) and Rep. Alcee Hastings (D-FL)

(Nov. 2, 2020) (AR-0416-A2) (explaining that Everglades restoration projects have been “plagued

by design, permitting, and construction delays under the U.S. Army Corps of Engineers”). The

State of Florida believed it could more efficiently run a federally compliant permitting process, so

it started efforts to obtain approval for its own program. (AR-0006 at 2; AR-0007-A1 at 5-6).


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       For many years, the State of Florida considered the possibility of assuming the Federal 404

program. See, e.g., Chapter 2016-195, Law of Florida (legislation in 2016 authorizing FDEP to

pursue assumption). In March 2018, the Governor of Florida signed into law a new statute again

authorizing FDEP to establish a Section 404 Program. See Chapter 2018-88, Laws of Florida

(codified at Fla. Stat. § 373.4146). This new law, which expanded upon previous state laws

allowing for the pursuit of assumption, sought to “enable the [FDEP] to assume and implement

the federal section 404 dredge and fill permitting program in conjunction with the environmental

resource permitting program.…” Fla. Stat. § 373.4146(2). In response, FDEP began a lengthy

process of adopting comprehensive Section 404 Program regulations, which were initially

proposed in February 2020 and finalized in June 2020. This State rulemaking included an extensive

public notice and comment process. (AR-0006 at 3). FDEP’s regulations creating the State 404

Program are now codified primarily at Chapter 62-331 of the Florida Administrative Code. (AR-

0006 at 3; AR-0002-A48). Plaintiffs in this action filed comments in the state rulemaking process

opposing FDEP’s assumption rules, but they did not seek further administrative or judicial review

of the final State regulations. See, e.g., AR-0066.

       On August 20, 2020, Florida filed a complete application with EPA to administer a Section

404 Program. (See AR-0002 through AR-0020 (including attachments)). Florida’s application

contained all of the required elements of a State 404 permit program as set forth in 40 C.F.R.

§ 233.10. This included (among other things): (a) a letter from Florida’s Governor requesting

program approval; (b) a complete program description as set forth in 40 C.F.R. § 233.11; (c) a

State legal opinion as set forth in 40 C.F.R. § 233.12; (d) a Memorandum of Agreement with the

EPA Regional Administrator as set forth in 40 C.F.R. § 233.13; (e) a Memorandum of Agreement

with the Secretary of the Army, as set forth in 40 C.F.R. § 233.14; and (f) copies of all applicable




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State statutes and regulations, including those governing applicable State administrative

procedures. Florida’s application was available for public review via FDEP’s website, EPA’s

website, and the Federal government’s regulatory docket website.3

       B.      EPA’s Review & Approval of Florida’s Application

       On August 28, 2020, EPA acknowledged receipt of Florida’s complete application (AR-

0641), and promptly opened a public comment period and scheduled public hearings. 85 Fed. Reg.

57,853 (Sept. 16, 2020). Over 3,000 comments were submitted. (AR-0568 at 1, 10-13). EPA held

public hearings on Florida’s Section 404 Program application on October 21 and October 27, 2020,

via virtual platforms that allowed remote participation by any member of the public. (AR-0429,

AR-0430, AR-0574, AR-0575, AR-0589, AR-0604). EPA designated FDEP as the non-Federal

representative for purposes of engaging in consultation with the U.S. Fish and Wildlife Service

(“USFWS”) under Section 7 of the Endangered Species Act (“ESA”) (AR-0635, AR-0636). FDEP

submitted a biological evaluation to USFWS concerning the impact of Florida’s Section 404

Program on federally listed species and critical habitat (AR-0387-A8), and on November 17, 2020,

USFWS issued a biological opinion to accompany EPA’s determination concerning Florida’s 404

assumption request. (AR-0642 at 12-14).

       The State of Florida and FDEP consulted with the Seminole Tribe of Florida, Miccosukee

Tribe of Indians of Florida, and other Indian Tribes concerning Florida’s assumption of the Section

404 Program. See AR-0223 at 6 (discussing Florida’s cooperative engagement with Tribes); AR-

0431 (letter from the Seminole Tribe of Florida identifying their concerns with assumption while


3
    FDEP, 404 Assumption, https://floridadep.gov/water/submerged-lands-environmental-
resources-coordination/content/404-assumption; EPA, Public Notice: Notice of EPA’s Approval
of      Florida’s   Clean       Water      Act    Section    404      Assumption       Request,
https://www.epa.gov/publicnotices/notice-epas-approval-floridas-clean-water-act-section-404-
assumption-request; Approval of Florida’s Clean Water Act Section 404 Assumption Request,
Regulations.gov, https://beta.regulations.gov/document/EPA-HQ-OW-2018-0640-0564.


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stating that the “Seminole Tribe sincerely appreciates FDEP’s efforts to engage with and

incorporate the Seminole Tribes’ feedback during development of the 404 Program”). On August

6, 2020, FDEP and the Florida State Historic Preservation Officer (“Florida SHPO”) entered into

an Operating Agreement whereby FDEP committed to direct engagement with the Florida SHPO

and interested Indian Tribes early in the permit application review process. (AR-0016-A1). On

December 16, 2020, FDEP entered a Programmatic Agreement with EPA, the Advisory Council

on Historic Preservation, and the Florida SHPO for purposes of Section 106 of the National

Historic Preservation Act. (AR-0595; AR-0630; AR-0639).

       Furthermore, the State of Florida, and FDEP in particular, invested significant time and

resources in preparing to assume authority to establish and implement the CWA Section 404

program. For example, in addition to obtaining statutory authority from the State legislature,

adopting State regulations via the State of Florida’s administrative rulemaking process, preparing

all requisite application materials, and complying with extensive Federal regulatory requirements,

FDEP held more than a dozen staff training sessions beginning in August 2020 covering all aspects

of the Section 404 program, as well as many meetings and interactions with outside stakeholders

concerning the establishment and implementation of a Section 404 Program in Florida. (AR-0006

at 3; see also Dkt. 4-2 at 6, (Wolfe Decl. ¶ 21)). The State of Florida and FDEP also ensured that

the program would have the necessary resources. (AR-0223 at 6-7).

       On December 17, 2020, EPA issued a notice determining that the State of Florida “has the

necessary authority to operate a CWA Section 404 program in accordance with the requirements

found in CWA section 404(g-l) and EPA’s implementing regulations,” and therefore approved

Florida’s assumption of the program. See AR-0566; see also 85 Fed. Reg. 83,553-54 (Dec. 22,




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2020) (AR-0564). 4 Under EPA regulations, the Administrator has delegated the authority to

approve State 404 program applications to the Regional Administrator. 40 C.F.R. § 233.15. Thus,

the approval notice was sent from the EPA Regional Administrator to the Governor of Florida on

December 17, 2020. (AR-0566). This letter contains the subject line, “Notice of Approval of

Florida’s Assumption of the Clean Water Act Section 404 Program,” and explains that “Florida’s

assumption of the CWA Section 404 program is approved,” and that “Florida will begin permitting

responsibility for these discharges upon publication of EPA’s approval in the Federal Register.”

(AR-0566). Approval of the program became effective upon publication in the Federal Register

on December 22, 2020, see 85 Fed. Reg. at 83,553, as provided under 40 C.F.R. § 233.15(h).

        Thus, FDEP now administers two separate (yet overlapping) wetlands protection

programs: the State’s 404 Program and the State’s ERP program. Projects within State-assumed

waters require both an ERP and a State 404 Program authorization.

        C.     Early Actions under Florida’s Section 404 Program

        On December 23, 2020, FDEP notified the Corps that Florida was now administering the

Section 404 Program, as approved by EPA. See 33 U.S.C. § 1344(h)(3) (“upon subsequent

notification from such State that it is administering such program, [the Corps] shall suspend the

issuance of such permits….”). Though not required by statute or regulation, soon after approving

Florida’s program, EPA commenced the process of formally adding Florida’s program to the list

of State programs identified in 40 C.F.R. 233.72, where the Michigan and New Jersey programs

are currently identified. See EPA, Codifying EPA’s Adjudicatory Decision on Florida’s Clean

Water    Act    Section    404    Program     Request     (Jan.   14,    2021),   available    at




4
  This “notice” constitutes an “order” within the meaning of the APA. See 5 U.S.C. § 551(6), (8)
(defining “order” and “license,” respectively).


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https://www.epa.gov/sites/production/files/2021-01/documents/pre-publication_frn-

_fl_404_codification_final_rule_.pdf.

       On December 28, 2020, after Plaintiffs raised concerns with EPA’s approval, EPA sent a

letter to FDEP reaffirming that Florida’s Section 404 Program became effective on December 22,

2020 consistent with governing regulations and the Memorandum of Agreement (“MOA”)

between FDEP and the Corps. The MOA became effective “at the time of EPA approval of the

State 404 Program, which shall be the effective date published in the Federal Register.” (AR-0019

at 1); see also 33 U.S.C. § 1344(h)(2)(A) (providing that, where the EPA Administrator has

approved a State 404 Program, the Administrator shall “so notify (i) such State and (ii) the

Secretary, who upon subsequent notification from such State that it is administering such program,

shall suspend the issuance of permits under subsections (a) and (e) of this section for activities

with respect to which a permit may be issued pursuant to such State program” (emphasis added)).

       Contrary to Plaintiffs’ fears, FDEP is not rushing the issuance of Section 404 permits. As

of April 23, 2021, the Corps had transferred approximately 382 permit applications to FDEP for

processing under the State’s Section 404 program. For most of those applications, FDEP sent the

permit applicant a request for additional information to facilitate FDEP’s careful review. All of

those applications remain under review at FDEP. As of April 23, 2021, FDEP had issued no new

individual permits under the Section 404 program, and 1,243 applications for State Section 404

permits remain pending at FDEP.

       Consistent with Federal standards, FDEP has issued non-controversial general permits for

routine activities such as bank stabilization projects, utility line activities, small residential

development projects, and other activities appropriate for general or regional permits. FDEP

maintains a public website in each region that identifies any permit application that FDEP




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reasonably expects to result in a “heightened public concern” or likelihood of request for

administrative proceedings, based on the size, potential effect on the environment or the public,

potential controversial nature, and the location of the activities. See, e.g., FDEP South District,

Projects of Heightened Public Concerns, available at https://floridadep.gov/south/sd-

permitting/content/projects-heightened-public-concerns (accessed Apr. 26, 2021).

       In summary, the State of Florida engaged in years of hard work to apply for and obtain

approval of its Section 404 program. It took an act of the Florida Legislature, the support of the

Governor, and the dedicated efforts of scores of FDEP staff and experts to assemble and prepare

the program and related application materials. Federal law guarantees a determination on an

application within 120 days, and EPA is to be commended for undertaking and completing an

extensive review and public input process consistent with the requirements and timeframes under

law. As shown in the voluminous administrative record, EPA took special care to ensure that

Florida’s program complied with applicable law before correctly approving it. Even after approval,

EPA and other Federal agencies maintain an active role in reviewing and overseeing Section 404

permitting actions to ensure that FDEP administers the State’s new program consistent with

Federal law.

                                   STANDARD OF REVIEW

       Federal courts are courts of limited jurisdiction, possessing only those powers authorized

by the Constitution and an act of Congress. See, e.g., Janko v. Gates, 741 F.3d 136, 139 (D.C. Cir.

2014). Plaintiffs bear the burden of establishing that a court has jurisdiction to hear each of their

alleged claims. See Walen v. United States, 246 F. Supp. 3d 449, 452-53 (D.D.C. 2017).

       “In determining whether to grant a motion to dismiss under Rule 12(b)(1), the Court must

construe the complaint in plaintiffs’ favor and treat all well-pleaded factual allegations as true.”

Byrne v. Clinton, 410 F. Supp. 3d 109, 115–16 (D.D.C. 2019) (citation omitted), aff’d sub


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nom. Byrne v. Brock, No. 19-7120, 2020 WL 1487757 (D.C. Cir. Feb. 27, 2020). “Although the

Court must grant plaintiffs the benefit of all reasonable inferences, the Court need not accept

factual inferences drawn by plaintiffs if those inferences are not supported by facts alleged in the

complaint, and the court need not accept plaintiffs’ legal conclusions.” Id. (internal quotation

marks and citation omitted). In making its jurisdictional assessment, “the Court may consider

materials beyond the pleadings where appropriate.” Id. (citations omitted).

       “To prevail on a Federal Rule of Civil Procedure 56 motion for summary judgment[,] as

opposed to a motion to dismiss,’ the moving party ‘must establish that there exists no genuine

issue of material fact as to justiciability....” Friends of Animals v. U.S. Bureau of Land Mgmt., No.

CV 18-2029 (RDM), 2021 WL 230139, at *5 (D.D.C. Jan. 22, 2021) (quoting Dep’t of Com. v.

U.S. House of Representatives, 525 U.S. 316, 329 (1999)). “A fact is ‘material’ if it is capable of

affecting the outcome of a dispute, [] and a dispute is ‘genuine’ if the evidence is such that a

reasonable factfinder—here, the Court—could find in favor of the nonmoving party.” Id. (citations

omitted). “If the Court finds that a genuine issue of material fact exists as to justiciability, it must

deny both cross-motions for summary judgment because the Court cannot reach the merits of a

case in which justiciability remains substantially in doubt.” Id.

       When reviewing agency actions on the merits under the APA, district courts “do not resolve

factual issues, but operate instead as appellate courts resolving legal questions.” James Madison

Ltd. by Hecht v. Ludwig, 82 F.3d 1085, 1096 (D.C. Cir. 1996). “The entire case on review is a

question of law, and only a question of law.” Marshall Cty. Health Care Auth. v. Shalala, 988 F.2d

1221, 1226 (D.C. Cir. 1993). Thus, summary judgment simply “serves as the mechanism for

deciding, as a matter of law, whether the agency action is supported by the administrative record

and otherwise consistent with the APA.” Zevallos v. Obama, 10 F. Supp. 3d 111, 117 (D.D.C.




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2014) (citations omitted). Courts review APA claims challenging agency actions under 5 U.S.C.

§ 706(2).

                                            ARGUMENT

       The Court should dismiss this action in its entirety because Plaintiffs lack standing and

seek relief that has been mooted by the passage of time. Although this briefing focuses primarily

on Plaintiffs’ eighth and ninth claims, those claims are plagued by fundamental justiciability

problems that apply equally to all claims. For example, Plaintiffs cannot show how EPA’s approval

inflicted any non-speculative injury to their or their members’ cognizable interests. And given the

unique “deemed approved” language in Section 404, none of Plaintiffs’ claims are redressable by

this Court. These realities necessitate the dismissal of Plaintiffs’ entire lawsuit.

       Apart from these case-dispositive reasons, Plaintiffs’ eighth and ninth claims possess

unique jurisdictional flaws: (1) Plaintiffs can show neither the requisite injury to their procedural

rights nor causation linking the alleged procedural violations to EPA’s substantive decision-

making process, and (2) longstanding Circuit precedent (Prows v. U.S. Dept. of Justice) renders

Plaintiffs’ eighth claim non-redressable and moot. Finally, even if Plaintiffs’ eighth and ninth

claims were justiciable, they would still fail on the merits because, consistent with the

Administrative Procedure Act and five decades of EPA practice, EPA’s approval notice of the

Florida program was properly treated as an adjudication that is not subject to a 30-day waiting

period (Claim 8) or C.F.R. codification (Claim 9). Additionally, any error in those respects would

be harmless and an inadequate basis to override the clear congressional policy in favor of State

programs under the CWA.

I.     Plaintiffs’ Claims Against EPA Are Not Justiciable.

       “Three inter-related judicial doctrines—standing, mootness, and ripeness—ensure that

federal courts assert jurisdiction only over ‘Cases’ and ‘Controversies.’ ” Worth v. Jackson, 451


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F.3d 854, 855 (D.C. Cir. 2006) (citing U.S. Const. art. III, § 2). Plaintiffs’ claims in this case

require dismissal because Plaintiffs lack the requisite standing and their claims are moot. For these

reasons, Florida Intervenors respectfully request that this Court dismiss Plaintiffs’ case in its

entirety. At a minimum, Plaintiffs’ Claim 8 and Claim 9 must be dismissed for lack of standing

and various other justiciability reasons.5

        A.      Plaintiffs Lack Article III Standing to Challenge the “Effective Date” of EPA’s
                Approval (Claim 8).

        Courts assess standing based on “when the suit was filed,” and Plaintiffs bear the burden

of establishing standing for each claim alleged and form of relief sought. Davis v. Fed. Election

Comm’n, 554 U.S. 724, 734 (2008). For each of their claims, Plaintiffs must establish either

“organizational standing” to sue on their own behalf or “associational standing” to sue on behalf

of their members. Pub. Citizen, Inc. v. Trump, 297 F. Supp. 3d 6, 17 (D.D.C. 2018).

        To establish their own standing, Plaintiffs “must have (1) suffered an injury in fact, (2) that

is fairly traceable to the challenged conduct of the defendant, and (3) that is likely to be redressed

by a favorable judicial decision.” Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1547 (2016) (citations

omitted). An injury in fact is “‘an invasion of a legally protected interest’ that is ‘concrete and

particularized’ and ‘actual or imminent, not conjectural or hypothetical.’” Id. at 1548 (citation

omitted). An injury is “particularized” if it affects the party in a “personal and individual way” and

is “concrete” if it actually exists. Id. (internal citations omitted).

        To establish associational standing, Plaintiffs must show that they (1) have at least one

member who would otherwise have standing to sue in her own right; (2) the interests the


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  Consistent with the Court’s request for limited briefing at this stage, Florida Intervenors have not
raised all of their arguments supporting dismissal of Plaintiffs’ claims, especially with regard to
issues that are unique to the first through seventh claims. Florida Intervenors expressly reserve
their right to raise additional justiciability arguments or other grounds for dismissal in future
briefing (if any remains).


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association seeks to protect are germane to its purpose; and (3) neither the claim asserted nor the

relief requested requires the participation of the individual member in the lawsuit. Hunt v. Wash.

State Apple Advert. Comm’n, 432 U.S. 333, 342-43 (1977). The first element requires Plaintiffs to

“identify at least one specific member who has suffered, or is likely to suffer, an injury in fact.”

Pub. Citizen,, 297 F. Supp. 3d at 18.

        Plaintiffs lack standing because they have failed to establish any actual or imminent,

particularized injury to their or their members’ concrete interests that is sufficiently traceable to

EPA’s approval action and redressable by this Court. Dismissal is therefore required.

                1.      The lack of a 30-day delay in the effective date did not cause any
                        redressable procedural injury to Plaintiffs’ or their members’ concrete,
                        particularized interests.

        Plaintiffs allege that “EPA violated the APA by making its approval effective immediately

upon publication in the Federal Register, rather than no less than 30 days thereafter.” Dkt. 1 at 47

(Compl., ¶ 237). Their argument is purportedly based on 5 U.S.C. § 553(d), which applies to

“rulemakings” and provides that the “required publication or service of a substantive rule shall be

made not less than 30 days before its effective date,” with certain exceptions. Based on this alleged

procedural violation, Plaintiffs ask the court to declare unlawful and set aside EPA’s immediate

effective date. Id., ¶ 239, Id. at 50 (Compl. ¶ Prayer for Relief § (f), (l)). Plaintiffs assert that the

lack of a 30-day delay caused procedural injuries to their and their members’ concrete,

particularized interests, as well as organizational injuries. See generally Dkt. 31 at 33-51.

        In a procedural injury case, Plaintiffs “have standing only if, inter alia, (1) the government

violated their procedural rights designed to protect their threatened concrete interest, and (2) the

violation resulted in injury to their concrete, particularized interest.” Ctr. for L. & Educ. v. Dep’t

of Educ., 396 F.3d 1152, 1157 (D.C. Cir. 2005). In this context, the immediacy and redressability

requirements of standing are relaxed, meaning Plaintiffs need only show some possibility that the


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requested relief would prompt the agency to reconsider the decision that harmed them. See id.

However, the injury and causation requirements are not relaxed. Id. “Establishing causation in the

context of a procedural injury requires a showing of two causal links: ‘one connecting the omitted

[procedural step] to some substantive government decision that may have been wrongly decided

because of the lack of [that procedural requirement] and one connecting that substantive decision

to the plaintiff’s particularized injury.’ ” Ctr. for Biological Diversity v. EPA, 861 F.3d 174, 184

(D.C. Cir. 2017) (quoting Fla. Audubon Soc. v. Bentsen, 94 F.3d 658, 668 (D.C. Cir. 1996)).

                       (i)     The lack of a 30-day delay did not injure any concrete,
                               particularized interest of Plaintiffs or their members.

       Plaintiffs contend that the lack of a 30-day delay deprived them of their rights to petition

EPA during the pendency of this litigation to postpone the effective date of the approval under 5

U.S.C. § 705, to petition EPA for reconsideration under 5 U.S.C. § 553(e), and to receive the

benefits of EPA’s decision falling within the scope of the Klain memorandum. Dkt. 31 at 33. In

other words, Plaintiffs’ theory of procedural injury hinges on claiming that the lack of a 30-day

delay impaired alleged secondary procedural rights, which in turn allegedly harmed their concrete,

particularized interests. Even if such a procedural-injury bank-shot could ever establish standing,

Plaintiffs’ arguments fail.

       First, Plaintiffs and their members lost no procedural rights under APA Section 705

because they had no such rights to begin with. APA Section 705 confers discretion on the agency

to delay the effective date of a statute pending judicial review; it does not confer on Plaintiffs or

their members a statutory right to petition EPA for such a delay. Compare 5 U.S.C. § 705 (“[w]hen

an agency finds that justice so requires, it may postpone the effective date of action taken by it,

pending judicial review”) with 5 U.S.C. § 553(e) (“[e]ach agency shall give an interested person

the right to petition for the issuance, amendment, or repeal of a rule”); see also Dkt. 35 at 19-21.



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       Even assuming Plaintiffs and their members possessed a general procedural right to seek

an effective-date delay under the APA, Congress eliminated that right in CWA Section 404.

Congress provided there that each State is entitled by law to have a decision within 120 days of

filing a complete application, which necessarily precluded EPA from staying, revisiting, or

restarting the approval process after the 120-day approval timeframe expired on December 17,

2020. See 33 U.S.C. § 1344(h); 40 C.F.R. § 233.15(g). This does not leave Plaintiffs without

options. Indeed, Congress provided a specific mechanism in CWA Section 404(i) for EPA to alter

its approval of a State Section 404 program if the statutory prerequisites for withdrawal are met.

See 33 U.S.C. § 1344(i); see also 40 C.F.R. § 233.53(b). Thus, while Congress did not provide

Plaintiffs with a right to seek a delay of the effective date or otherwise seek reconsideration before

EPA’s approval becomes effective, they may petition for withdrawal of an approved State 404

program. Neither Section 705 nor Section 553(e)’s general, non-time-specific right to seek

“issuance, amendment, or repeal” of a rule grant Plaintiffs any rights to seek a pre-effective date

reconsideration of a State 404 program.

       Because Plaintiffs have no right to seek a 30-day delay of the effective date, and also lack

any derivative procedural rights to petition EPA for a stay or reconsideration before that effective

date, their procedural-injury theory falls doubly short of supporting standing. Ctr. for L. & Educ.,

396 F.3d at 1157 (“Not all procedural-rights violations are sufficient for standing….”).

       Plaintiffs’ arguments based on the Klain memorandum—a general request from one

executive official to the heads of Federal agencies—suffers the same fate. That memorandum

merely states, “I ask that you immediately take the following steps,” including for “rules that have

been issued in any manner, but have not taken effect” to “consider postponing the rules’ effective

dates for 60 days.” Klain Mem., available at https://www.whitehouse.gov/briefing-




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room/presidential-actions/2021/01/20/regulatory-freeze-pending-review/. An internal executive

memorandum that “asks,” as opposed to directs, and provides only that an agency “consider,” as

opposed to affirmatively postpone, qualifying rules does not provide Plaintiffs or their members a

basis upon which they can show injury in fact to a protected right, much less one that rises above

a speculative level. Absent any right under APA Sections 705 and 553(e) or under the Klain

Memorandum, Plaintiffs’ and their members’ related assertions of procedural injury fail.

       Second, even assuming that Plaintiffs had the procedural rights they claim, any purported

related injury due to the absence of a 30-day delay would be harmless. For instance, Plaintiffs

immediately could have sought (and still can seek) a stay of EPA’s approval from this court under

APA Section 705 or by a motion for a temporary restraining order or a preliminary injunction.

Plaintiffs have chosen not to use these opportunities. And Plaintiffs are also free to file a petition

for withdrawal of Florida’s program. 40 C.F.R. § 233.53(c)(1). Plaintiffs have not availed

themselves of this opportunity. Clapper v. Amnesty Int’l USA, 568 U.S. 398, 416, 422 (2013)

(holding that plaintiffs “cannot manufacture standing merely by inflicting harm on themselves”).

       Furthermore, Plaintiffs have acknowledged that even if EPA had applied the 30-day delay,

its approval would have taken effect on January 21, 2021—i.e., less than one day after President

Biden took office. See Dkt. 21 at 2 n.1. In other words, assuming Plaintiffs were deprived of some

secondary procedural right, the only injury Plaintiffs could identify is the missed political and

advocacy opportunity of less than five business hours during a new presidential administration.

As importantly, the administration had already expressly identified and prioritized 48 EPA actions

to be reviewed, but this list did not include the Agency’s approval of Florida’s assumption

application. See Fact Sheet: List of Agency Actions for Review (Jan. 20, 2021), available at

https://www.whitehouse.gov/briefing-room/statements-releases/2021/01/20/fact-sheet-list-of-




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agency-actions-for-review/. This was the case, even though Plaintiffs tried to persuade the

incoming administration otherwise before it took office. See Dkt. 21 at 6 n.2 (indicating that

Plaintiffs asked the incoming administration “to recognize that the transfer of authority was not

lawful or, alternatively, if EPA lawfully promulgates a rule approving and codifying the state

program, that the agency postpone its effective date pending judicial review”); Dkt. 31-1 at 7,

(Crooks Decl. ¶ 24) (acknowledging that Plaintiffs submitted requests to EPA and the Biden

Administration’s transition team seeking to postpone the effective date without success).

       Given this factual context, Plaintiffs cannot base injury in fact on a less-than-one-day

window of political opportunity with a new administration that had expressed no specific interest

in agreeing with Plaintiffs’ concerns. Indeed, three months into the new administration, EPA has

not indicated a change in course. To say Plaintiffs’ theory of injury is speculative would be an

understatement. Plaintiffs’ footnote suggestion that but for absence of a 30-day delay, the new

administration would have stayed the effective date of EPA’s approval, is unsubstantiated. See

Dkt. 31 at 34 n.9 (stating that “under EPA’s current position, the agency is unable to consider

Plaintiffs’ stay request without court intervention”).

       Third—even assuming Plaintiffs possessed valid procedural rights to seek effective-date

delays or reconsideration, that is at most a generalized, procedural injury. Plaintiffs must, but

cannot, show how such generalized procedural injuries have harmed or will harm their concrete,

particularized interests. All of Plaintiffs’ members’ asserted harms flow from FDEP’s future grant

of pending permit applications. No member harms stem from the lack of a 30-day delay, for FDEP

did not grant any permits between December 22, 2020, and January 21, 2021. Dkt. 31 at 35

(acknowledging that as of the filing of Plaintiffs’ brief, “the state is [merely] considering permit

applications” and had not granted a single permit application). Regardless, as discussed in greater




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detail below, such future harms based on third-party conduct are too speculative to provide

standing here. See infra Argument I.C.2.

       Although Plaintiffs assert multiple organizational injuries allegedly caused by the lack of

a 30-day delay, only Plaintiffs’ claim that they were forced to immediately divert resources from

their core programs between December 22, 2020, and January 21, 2021 is arguably attributable to

their eighth claim. Dkt. 31 at 40. But alleging a sufficient organizational injury in this context

requires Plaintiffs to show that EPA’s approval injured Plaintiffs’ organizational interests and that

Plaintiffs used their resources to counteract that harm. Elec. Priv. Info. Ctr. v. Presidential

Advisory Comm’n on Election Integrity, 878 F.3d 371, 378 (D.C. Cir. 2017). No standing exists

where a plaintiff’s “injury” arises from a self-inflicted budgetary choice, including resources

diverted for litigation or investigation in anticipation of litigation, or from resources expended

based on “unnecessary alarmism.” People for the Ethical Treatment of Animals v. U.S. Dep't of

Agric., 797 F.3d 1087, 1093 (D.C. Cir. 2015) (“PETA”); Nat’l Treasury Emps. Union v. United

States, 101 F.3d 1423, 1430 (D.C. Cir. 1996). Here, Plaintiffs’ purported diversions do not qualify

as concrete, particularized organizational injuries because they were self-inflicted, either based on

an unsubstantiated fear or designed to manufacture standing for this litigation, and they did not

counteract any aspect of EPA’s approval.

       Plaintiffs contend that the lack of a 30-day delay “forced [them] immediately to expend

resources and staff time to gather information on new and transferred 404 permit applications …

while trying to continue their advocacy against pending permit applications threatening their

interests and those of their members.” Dkt. 31 at 41. As a preliminary matter, Plaintiffs failed to

identify any “new” permit applications (i.e., not transferred from the Corps) that were filed with




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FDEP during the relevant 30-day window where they expended resources. Plaintiffs’ assertion of

diverted resources to gather information on those permit applications thus is unsubstantiated.

         Regardless, Plaintiffs’ assertions of being caught off guard by EPA’s immediately effective

approval and thereby forced to immediately expend resources to counteract the immediacy are not

credible. See, e.g., Dkt. 31-1 at 10-12, (Crooks Decl. ¶¶ 29-35) (stating that due to the immediate

transfer the Conservancy of Southwest Florida was forced to “quickly transition [its] resources”

and to hold “emergency internal meetings”). But this ignores Crooks’ concession that she has been

advocating against and tracking Florida’s assumption of Section 404 authority for her organization

since 2017. Dkt. 31-1 at 5 (Crooks Decl. ¶ 15). Additionally, months before its approval, EPA

publicly stated that its approval and transfer would be immediately effective on publication of

notice. See 85 Fed. Reg. at 57,855 (“If EPA approves Florida’s program, EPA will notify the State

and the Corps and publish notice in the Federal Register. Transfer of the program to the State is

not effective until this notice is published.”). This public statement was consistent with CWA

Section 1344 and Corps regulations, as well as with EPA’s 50-year track record of approving State

programs via notices that are effective immediately or very soon thereafter.6 See infra Argument

II.A. It is common knowledge that an agency action’s publication in the Federal Register can occur

as soon as one day later, especially where the action is a fairly straightforward public notice of a

letter of approval. Plaintiffs thus have been on notice that EPA’s approval would be effective

immediately upon publication of its notice since Florida submitted its application. Plaintiffs also

have had full access to the provisions of Florida’s program since it was finalized and codified in

State law in June 2020.




6
    See 33 U.S.C. § 1344(h)(2)(A); 40 C.F.R. § 233.15(h).


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       Based on these irrebuttable facts, Plaintiffs’ lack of preparation was a self-inflicted injury

rather than the result of EPA promptly publishing a Federal Register notice. Had Plaintiffs

prepared, there would have been no potential immediate harm to counteract, as Plaintiffs already

“had planned to monitor the transfer of 404 permitting authority.” See Dkt. 31-1 at 11, (Crooks

Decl. at ¶ 33); see also Fair Emp. Council of Greater Wash., Inc. v. BMC Mktg. Corp., 28 F.3d

1268, 1277 (D.C. Cir. 1994). Regardless, any diversion of resources was unnecessary because

FDEP issued no permits and there was no harm to counteract between December 22, 2020, and

January 21, 2021. Plaintiffs’ “programs would have been totally unaffected if [they] had simply

refrained from making the re-allocation[s]” they claim. Fair Emp. Council of Greater Wash., Inc.,

28 F.3d at 1277. Plaintiffs “cannot manufacture standing merely by inflicting harm on themselves

[by incurring costs in anticipation of] fears of hypothetical future harm that is not certainly

impending.” Clapper, 568 U.S. at 416, 422; Equal Rts. Ctr. v. Post Props., Inc., 633 F.3d 1136,

1139–40 (D.C. Cir. 2011) (reaffirming that an organization’s diversion of resources in response to

actions or inactions does not impart standing (citation omitted)).

       Additionally, by all accounts, Plaintiffs’ allegedly diverted resources went toward

preparing for potential litigation and advocacy related not only to this case but also to potential

future challenges. See, e.g., Dkt. 31-1 at 10-12, (Crooks Decl. ¶¶ 29-35); Dkt. 31 at 41 (admitting

to gathering information for “advocacy” interests). These diversions constitute self-inflicted

budgetary choices. Food & Water Watch, Inc. v. Vilsack 808 F.3d 905, 919–20 (D.C. Cir. 2015);

Am. Soc. for Prevention of Cruelty to Animals v. Feld Entm’t, Inc., 659 F.3d 13, 25 (D.C. Cir.

2011). Furthermore, Plaintiffs have not specifically asserted that any diversion of resources forced

them to incur unusual operations costs. See Nat’l Ass’n of Home Builders v. EPA, 667 F.3d 6, 12

(D.C. Cir. 2011) (organization’s expenditures must be for “ ‘operational costs beyond those




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normally expended’ to carry out its advocacy mission” (quoting Nat’l Taxpayers Union, Inc. v.

United States, 68 F.3d 1428, 1434 (D.C. Cir. 1995)).

         Based on the foregoing, Plaintiffs have not shown that the lack of a 30-day delay resulted

in any injury to their or their members’ interests sufficient to supporting standing for their eighth

claim.

                        (ii)    Plaintiffs show no causal connection between the timing of when
                                EPA’s approval became effective and the substance of the
                                approval.

         Plaintiffs have not, and cannot, show that the lack of a 30-day delay in the effective date

substantively affected EPA’s decision-making process and approval of Florida’s program. See Ctr.

for Biological Diversity, 861 F.3d at 184 (noting that “a plaintiff ‘must still demonstrate a causal

connection between the agency action and the alleged injury’ ” (citation omitted)). The timing of

the effective date, by definition, is a post-decision, procedural step. It is thus far afield from notice-

and-comment violations and other procedural injuries that readily affect an agency’s consideration

of a rule. See California v. Trump, No. CV 19-960 (RDM), 2020 WL 1643858, at *7 (D.D.C. Apr.

2, 2020). As a result, EPA’s approval could not “have been wrongly decided because of” the

absence of the 30-day delay. Ctr. for Biological Diversity, 861 F.3d at 184. Plaintiffs therefore

cannot establish causation and lack standing to raise this procedural-injury claim.

                        (iii)   This claim is not redressable because granting the requested
                                relief would not allow EPA to reconsider its approval.

         In relation to their eighth claim, Plaintiffs seek only declaratory relief and to set aside the

immediate effective date. A declaratory ruling from this Court that the 30-day delay applied to

EPA’s approval would not provide EPA with an opportunity to reconsider its approval that the

agency does not already have. Nor would setting aside the immediate effective date. Instead, that

merely would move the effective date from December 22, 2020 to January 21, 2021. See Prows v.



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U.S. Dep’t of Justice, 938 F.2d 274, 276 (D.C. Cir. 1991) (establishing that the remedy for a 30-

day delay violation is to move the rule’s effective date to when it should have been). Accordingly,

this small shift in the effective date would not redress any of Plaintiffs’ claimed organizational

injuries (assuming they were otherwise sufficient). It similarly would not redress Plaintiffs’

members’ claimed injuries because, among other things, FDEP approved no permits between

December 22, 2020 and January 21, 2021.

               2.      The lack of a 30-day delay has not caused any redressable non-
                       procedural injury to the concrete, particularized interests of Plaintiffs.

       For the same reasons that Plaintiffs’ alleged procedural injuries to its concrete,

particularized organizational interests fail, Plaintiffs cannot establish that the lack of a 30-day

delay caused them any non-procedural injury sufficient to establish standing for their eighth claim.

See supra Argument I.A.1.i.

       Independently, Plaintiffs’ eighth claim is not redressable because the court can no longer

grant any meaningful relief. The D.C. Circuit, following other courts of appeals, has held that the

appropriate remedy for a violation of the 30-day requirement is to “deny[] such a rule effectiveness

for the mandated 30 days, allowing it to take effect in full thereafter.” Prows, 938 F.2d at 275.

Applying this rule, EPA’s approval would have become effective on January 21, 2021.

Accordingly, under Prows, Plaintiffs’ claim based on this violation is not redressable.7 Id.

       Plaintiffs disclose the controlling holding in Prows, albeit in the final footnote of their brief.

Dkt. 31 at 50 n.10. They assert that Prows does not apply because “there was no other issue with

the rule’s promulgation” in that case, and “no action that took place during the 30-day period had


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 The United States also recognizes that Prows controls. Dkt. 35 at 16-19. Although the United
States takes the more limited position that Prows does not preclude Plaintiffs’ standing to raise
Claim 8 based on past injury, the United States does not identify what cognizable past injury
Plaintiffs actually suffered. As indicated in this brief, any alleged past injury from the lack of a 30-
day delay either is not credible or was self-inflicted, such that it provides no basis for standing.


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harmed the plaintiff.” Id. Even if Plaintiffs have sufficiently preserved their position, their attempt

to distinguish Prows fail. Nw. Immigrant Rts. Project v. U.S. Citizenship & Immigration Servs.,

No. 19-3283 (RDM), 2020 WL 5995206, at *10 (D.D.C. Oct. 9, 2020) (“[T]he Court is

unpersuaded that this brief, conditional assertion in a footnote is sufficient to preserve the issue.”).

       First, as a threshold matter, Plaintiffs’ effort to distinguish the facts underlying the alleged

Section 553(d) violation in this case from those in Prows lacks merit. The rule in Prows is not

limited to the facts of that case. Instead, speaking to all 30-day violations, the court broadly stated:

“We join the other circuits that have addressed the matter in holding that violations are remedied

by denying such a rule effectiveness for the mandated 30 days, allowing it to take effect in full

thereafter.” 938 F.2d at 275. This situation falls within the scope of the Prows holding. The Prows

approach has been followed in other cases involving analogous violations within the D.C. Circuit.

See, e.g., Cath. Soc. Serv. v. Shalala, 12 F.3d 1123, 1128 (D.C. Cir. 1994) (rejecting attempt “to

distinguish Prows on the ground that” a significant substantive defect in the rule at issue “is ‘far

more fundamental’ than the ‘procedural’ defect” in Prows).

       Second, Plaintiffs suggest that because they have alleged other claims challenging the rule,

their eighth claim cannot be considered non-justiciable under Prows. But that assertion runs afoul

of the rule that standing is assessed on a claim-by-claim basis. Davis, 554 U.S. at 734. Regardless,

Plaintiffs’ argument fails because they did not develop it or provide any legal authority supporting

it. United States v. Law, 528 F.3d 888, 908 n.11 (D.C. Cir. 2008) (treating “argument as waived

because [party] failed to develop it”); Gov’t of Manitoba v. Bernhardt, 923 F.3d 173, 179, (D.C.

Cir. 2019) (“A party forfeits an argument by mentioning it only in the most skeletal way, leaving

the court to do counsel’s work, create the ossature for the argument, and put flesh on its bones.”

(quotation marks and citation omitted)).




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       Third, Plaintiffs argue that Prows does not apply because Prows was not harmed during

the 30-day period. Plaintiffs rely on a non-binding district court case that predates the D.C.

Circuit’s Prows decision by nearly a decade, and that expressly rejected the Tenth Circuit decision

that Prows followed—Ngou v. Schweiker, 535 F. Supp. 1214, 1217 (D.D.C 1982) (questioning

and not applying Rowell v. Andrus, 631 F.2d 699, 704 (10th Cir. 1978)). Cf. Prows, 938 F.2d at

276 (agreeing with and following Rowell). Besides its tension with Prows, Ngou involved “special

circumstances” where the regulation would have cut off presently available cash and medical

benefits from the class of over 10,000 refugees with less than three weeks’ notice, where no

substitute benefits were available to them under either Federal or State law. 535 F. Supp. at 1215,

1217. And even in these extraordinary circumstances, the court’s preliminary-injunction remedy

was based on preventing direct, imminent harm and limited to making the rule effective 49 days

after it was published, as opposed to 30 days. See id. at 1217.

       As of the filing of this brief, it has been 125 days since EPA issued its approval, meaning

Plaintiffs have had plenty of time to prepare for Florida’s assumption. Furthermore, as of April 23,

2021, FDEP has not approved a single individual permit under its assumed authority. Based on

this, “the declaratory and injunctive relief Plaintiffs seek would not affect the risk of the underlying

harms” they assert—i.e., future permits harming their members’ interests or the resources they

diverted within the first 30 days—and past harm does not support standing to seek forward-looking

relief. Pub. Citizen, 297 F. Supp. 3d at 21 n.5 (D.D.C. 2018) (citing Morgan Drexen, Inc. v.

Consumer Fin. Prot. Bureau, 785 F.3d 684, 689 (D.C. Cir. 2015)). Accordingly, Plaintiffs’ eighth

claim is non-justiciable.




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         B.     Plaintiffs Lack Article III Standing to Challenge the Codification Status of
                Florida’s Program (Claim 9).

         Plaintiffs present no colorable standing argument for their ninth claim. Plaintiffs allege that

EPA is required to codify Florida’s CWA Section 404 program before it can take effect and EPA’s

immediate failure to do so has caused “Plaintiffs and their members … risks of harm from 404

permits to be issued by the state.” Dkt. 31 at 48-49. Plaintiffs lack standing to bring this procedural

claim.

         First, in their skeletal one page of argument, Plaintiffs do not even argue—as they must—

that the alleged codification requirement constitutes a “procedural right[] designed to protect their

[or their members’] threatened concrete interest….” Ctr. for L. & Educ., 396 F.3d at 1157. Nor do

they even reference in their argument the statute on which their ninth claim is based—the Federal

Register Act, 44 U.S.C. § 1510(a). That statute speaks only to the Administrative Committee of

the Federal Register and the President. Nothing within that provision so much as hints that

codification requirements are designed to protect Plaintiffs’ or their members’ concrete,

particularized interests. Absent showing that this law was designed to protect their interests,

Plaintiffs’ claim amounts to a “bare procedural violation” that does not “satisfy the injury-in-fact

requirement of Article III.” Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1549 (2016), as revised (May

24, 2016); Summers v. Earth Island Inst., 555 U.S. 488, 496–97 (2009); Fla. Audubon Soc., 94

F.3d at 664 (“The mere violation of a procedural requirement thus does not permit any and all

persons to sue to enforce the requirement.”).

         Second, Plaintiffs do not explain how the lack of codification injured their concrete,

particularized interest. Instead, ignoring the lack of codification and focusing on EPA’s general

approval, Plaintiffs declare that absent EPA’s approval (not because of the lack of codification),

they “would continue to enjoy rights and protections” provided under a federally implemented



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Section 404 program and their members would face no risk of harm. See Dkt. 31 at 48-49. Without

showing that the lack of codification caused Plaintiffs and their members harm to their concrete

and particularized interests, Plaintiffs cannot establish standing for this claim. This is especially

true since Plaintiffs and their members had actual notice of EPA’s approval and the relevant State

and Federal regulations are publicly available. FDEP’s regulations creating the State 404 Program

were finalized in June 2020 and are now codified primarily at Chapter 62-331 of the Florida

Administrative Code (AR-0006 at 2-3).

       Third, Plaintiffs cannot establish causation for this claim. Establishing causation for a

procedural violation requires Plaintiff to “establish a causal connection between the omitted

procedural step and ‘some substantive government decision that may been wrongly decided

because of the lack of ‘that procedural’ step.” California, No. 19-960 (RDM), 2020 WL 1643858,

at *7 (citing Ctr. for Biological Diversity, 861 F.3d at 184). The procedural step of codification

related to EPA’s approval is an after-the-fact step that is wholly unrelated to EPA’s substantive

approval, and requiring it now could have no bearing on EPA’s underlying approval decision. This

reality, which the United States agrees with (Dkt. 35 at 21-23), further defeats Plaintiffs’ standing

on this claim. Florida’s program was finalized as a matter of State law nearly one year ago, and

these provisions have been publicly available since. Based on the foregoing, Plaintiffs cannot

establish the requisite causation for this claim.

       Fourth, Plaintiffs’ ninth claim would not redress Plaintiffs’ and their members’ asserted

injuries. Codification would not, for example, stop Florida’s ability to implement its program and

issue future permits. For this reason, Plaintiffs’ ninth claim is not redressable.

       Fifth, and finally, Plaintiffs’ ninth claim likely will become moot in the immediate future

as EPA already has issued a prepublication notice for the codification. See Pre-publication Notice:




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Codifying EPA’s Adjudicatory Decision on Florida’s Clean Water Act Section 404 Program

Request (Jan. 14, 2021), https://www.epa.gov/cwa404g/pre-publication-notice-codifying-epas-

adjudicatory-decision-floridas-clean-water-act-section. Once that codification clears regulatory

review and is published in the Federal Register, Plaintiffs’ claim will be moot.

       C.      Plaintiffs Lack Article III Standing as to Claim 8, Claim 9, and All Other
               Claims Because Florida’s Expanded Role Causes No Actual Injury Relative to
               the Pre-Assumption Program.

       The standing inquiry is “context-specific, requiring the reviewing court to draw on its

experience and common sense.” Food & Water Watch, Inc., 808 F.3d at 917 (quotation marks and

citation omitted; brackets in original). The context of this challenge—EPA’s approval of Florida’s

assumption application—precludes Plaintiffs from establishing any concrete, particularized injury

to support standing for any of their claims. EPA’s action is directed to Florida, and Florida’s

program simply stands in for the Federal program in certain areas of the State, all with the

substantial ongoing involvement of the Federal agencies to assure compliance with Federal law.

Plaintiffs retain their robust right to participate in the State permitting process as well, and if any

particular permit is objectionable, Plaintiffs may challenge that permit, just as they could under

the Federal program. Thus, relative to the status quo ante in Florida, EPA’s approval of Florida’s

program causes no concrete, cognizable injury to Plaintiffs. For this reason, Plaintiffs’ complaint

must be dismissed in its entirety. Crow Creek Sioux Tribe v. Brownlee, 331 F.3d 912, 917 (D.C.

Cir. 2003) (finding no standing where the “transfer” to state jurisdiction “effects no legal change

that would lessen the protection of the Tribe’s cultural heritage” or impede the relevant federal

agency from enforcing cultural protection statutes).




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               1.      Florida’s program provides robust environmental protection with
                       extensive Federal oversight and involvement, thereby imposing no
                       actual concrete injury to Plaintiffs as compared to the pre-approval
                       status quo.

       Plaintiffs’ standing theory relies on their largely unspoken contention that Florida’s

administration of its Section 404 permitting program will cause greater harm to Florida’s natural

resources than if the Corps were administering the permitting program. Plaintiffs’ speculation

conflicts with the CWA and cannot constitute a concrete injury.

       The CWA’s cooperative federalism structure ensures extensive State and Federal

coordination that protects the environment. Florida’s approved program embodies these goals.

       The plain language of Section 404 requires EPA to verify that a State seeking to assume

authority has a program with provisions that are at least as protective as the Federal program. See,

e.g., 33 U.S.C. § 1344(h)(1)(A) (providing that State program must “apply, and assure compliance

with, any applicable requirements of [Section 404], including, but not limited to, the guidelines

established under subsection (b)(1)”); id. § 1344(h)(1)(B) (requiring State programs “[t]o issue

permits which apply, and assure compliance with, all applicable requirements of section 1318 of

[the CWA], or to inspect, monitor, enter, and require reports at least to the same extent as required

in section 1318”). Such programs must include authority allowing the State “[t]o abate violations

of the permit program” including by “civil and criminal penalties and other ways and means of

enforcement. Id. § 1344(h)(1)(G). And State programs also must “assure continued coordination

with Federal and Federal-State water related planning and review processes,” and that EPA

“receives notice of each application (including a copy thereof) for a permit.” Id. § 1344(h)(1)(D),

(H). Furthermore, State programs must continue to provide the public with notice of, information

about, and an opportunity to comment before the State can rule on any application. Id.

§ 1344(h)(1)(C).



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       EPA correctly determined that Florida’s program provides protection of water resources

that is at least as protective as the Federal program. Besides vigorously protecting the waters of

the United States through substantive federal standards, Florida’s program includes a system of

administrative checks that allow the public to hold the State accountable if it errs in granting or

denying a permit. Florida’s program does this by providing numerous opportunities for public

engagement throughout the permitting process as well as ample opportunities to bring permit

challenges under the Florida APA (Fla. Stat. ch. 120) and the Florida Environmental Protection

Act (Fla. Stat. § 403.412).

       Under Florida law, any person “substantially affected” by an FDEP rule or proposed rule

may seek an administrative determination that the rule is invalid. See Fla. Stat. § 120.56(1)(a);

§ 120.569(1). Florida courts have interpreted Chapter 120 liberally to achieve the statutory purpose

of increasing public participation in agency decisions. NAACP, Inc. v. Fla. Bd. of Regents, 863 So.

2d 294, 298 (Fla. 2003); Palm Beach Cnty. Envt’l Coal. v. Fla. Dep’t of Envt’l Prot., 14 So.3d

1076 (Fla. 4th DCA 2009). This includes the opportunity to challenge the validity of an existing

rule “at any time during which the rule is in effect.” Fla. Stat. § 120.56(3). Likewise, FDEP’s

issuance of a permit is not final agency action if an administrative challenge is timely filed. See

Fla. Stat. § 120.569, § 120.57. In Florida, the “administrative hearing process is designed to

formulate agency action” so FDEP’s “final action may be different from the proposed agency

action and may result in the issuance of a permit as requested by the applicant or as modified in

the course of the [administrative] proceeding or by settlement.” Fla. Admin. Code § 62-

110.106(7)(e)(2). Moreover, permit challenges in Florida are de novo proceedings where the

FDEP’s initial determination receives no deference and all of the parties—including any

environmental challengers—have the “opportunity to respond, to present evidence and argument




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on all issues involved, [and] to conduct cross-examination and submit rebuttal evidence....” Id.

§ 120.57(1)(b); see, e.g., Hamilton Cnty. Bd. of Cnty. Comm’rs v. Fla. Dep’t of Envt’l Regulation,

587 So.2d 1378, 1387-88 (Fla. 1st DCA 1991). In other words, these de novo administrative

proceedings are designed to give aggrieved “parties an opportunity to change the agency’s mind.”

Capeletti Bros. v. Dep’t of Gen. Servs., 432 So.2d 1359, 1363 (Fla. 1st DCA 1983). If the

administrative process results in a final order issuing the permit, Florida law provides for a right

to seek judicial review. See Fla. Stat. § 120.68.

       Plaintiffs incorrectly argue that Florida law “blocks access to the courts unless the

organization can demonstrate that a ‘substantial number’ of its members ‘are substantially

affected’ by the challenged conduct,” and they erroneously contrast Florida standing jurisprudence

with organizational standing in federal law. Dkt. 31 at 22. Plaintiffs obviously oversimplify

Federal standing doctrine, while also failing to acknowledge that Florida law provides significant

opportunities for environmental groups to challenge FDEP permitting and regulatory actions.

       Indeed, environmental groups have at least three such avenues under Florida law. One,

under the seminal case in Florida known as Agrico Chem. Co. v. Dep’t of Envt’l Regulation, 406

So. 2d 478 (Fla. 2d DCA 1981), plaintiffs have standing to challenge permitting actions if they

can demonstrate that their “substantial interests” are determined or affected by the action and their

interests fall within the zone of interests of the relevant program. Under the Agrico framework,

associations have standing if a “substantial number of its members, although not necessarily a

majority, are substantially affected’ ….” Fla. Home Builders Ass’n v. Dep’t of Labor and Emp’t

Sec., 412 So. 2d 351, 353-54 (Fla. 1982). This is the traditional avenue for environmental plaintiffs

to obtain standing in Florida. Two, under separate statutory authority, environmental groups in

Florida with “at least 25 current members residing within the county where the activity is




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proposed” have automatic standing to challenge a permitting action. See Fla. Stat. § 403.412(6).

Three, and most importantly for this case, Florida law expressly provides that, “[i]n a matter

pertaining to a federally delegated or approved program,” like Florida’s Section 404 program, “a

citizen of the state may initiate an administrative proceeding under this subsection if the citizen

meets the standing requirements for judicial review of a case or controversy pursuant to Article

III of the United States Constitution.” Fla. Stat. § 403.412(7) (emphasis added). In other words, if

Plaintiffs seek to challenge a permitting decision by FDEP under Florida’s Section 404 Program,

Florida law will simply require them to satisfy Federal standing doctrine. Id.

       Likewise, Plaintiffs vastly overstate the impact of Florida’s fee shifting provision found at

Section 403.412(2)(f), which “applies only to circuit court actions for injunctive relief,” not

administrative actions. Agrico Chem. Co. v. Dep’t of Envt’l Regulation, No. 83-2708, 1984 WL

54261, at *2 (Fla. Div. of Admin. Hr’g, June 27, 1984); accord Lake Hickory Nut Homeowners’

Ass’n v. Schofield Corp., No. 91-8088, 1992 WL 322912, at *13 (Fla. Div. of Admin. Hr’g, July

23, 1984); (explaining that Section 403.412(2)(f) only “relates to a civil injunction action and not

to an administrative proceeding”). FDEP does not seek fees under Section 403.412(2)(f) from

environmental groups challenging FDEP permitting actions. Plaintiffs cite no contrary examples.

       As importantly, under Florida’s program, Federal agencies maintain oversight roles and

ongoing involvement in the FDEP Section 404 permitting process. For example, EPA retains an

active role in overseeing each FDEP permit application, including the authority to federalize

permit applications. (AR-0018 at 7-9). In other words, should FDEP propose to grant a permit

contrary to Federal law, EPA’s review role and retained authority would provide a legal backstop.

In this manner, EPA ensures that Florida permitting actions comply with all Federal requirements.

Even more, if Florida does not administer its Section 404 program consistent with relevant




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statutory and regulatory requirements, EPA has authority to initiate proceedings to withdraw

approval and to return the full Section 404 program authority to the Corps. See 33 U.S.C. § 1344(i).

Any interested person may petition EPA to start withdrawal proceedings. 40 C.F.R. § 233.53(c)(1).

       The U.S. Fish and Wildlife Service likewise plays an ongoing, active role to ensure that

the implementation of Florida’s program protects listed species and designated critical habitat

under the ESA. Under the binding biological opinion accompanying EPA’s approval, FDEP must

involve FWS in permit decisions, accept technical assistance from FWS, incorporate all species-

and habitat-protective conditions FWS identifies into the State permit, and issue a notice of intent

to deny a permit application if FWS determines that the approval of such a permit would either

jeopardize the continued existence of an ESA-listed species or modify such a species’ designated

critical habitat. (AR-0642 at 27-41, 78-80).

       Given this extensive Federal involvement that ensures Florida’s administration of its

program complies with Federal requirements, Plaintiffs’ general assertions of standing based

solely on EPA’s transfer of authority lack merit. Furthermore, Plaintiffs have proffered no

evidence of any concrete, particularized harms to natural resources caused solely by the fact that

Florida will be administering some Section 404 permit applications instead of the Corps. Plaintiffs’

unsubstantiated and unspecific fear of undefined future harms attributable to some difference in

Florida’s adjudication of permits versus the Corps’ adjudication does not support their standing in

this case. See La. Envt’l Action Network v. Browner, 87 F.3d 1379, 1383 (D.C. Cir. 1996) (rejecting

standing where organization alleged hypothetical “enforcement gap” arising from EPA’s adoption

of delegation rules setting standards that EPA would use to determine whether to approve State

implementation plans under the Clean Air Act, and providing that, even assuming such a gap were

created, standing did not exist because the court could not “assume that that gap will affect areas




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actually frequented by LEAN’s members” as required “to assert . . . concrete and particularized

injury”); City of Dover v. EPA, 36 F. Supp. 3d 103, 111–12 (D.D.C. 2014) (dismissing challenge

to EPA’s approval of State’s impaired waters list under CWA for lack of standing where no final

permit containing the alleged injurious “strict” nitrogen limit had been issued to Plaintiffs). If

Plaintiffs’ fears come to pass, they may petition EPA to withdraw its approval of Florida’s program

based on a factual record of violating federal law and seek judicial review of EPA’s decision. But

Article III of the Constitution prohibits a record-free, speculation-fueled challenge based on the

mere transfer of permitting authority, where federal-equivalent requirements and federal-agency

involvement remain legally mandated under Florida’s program.

                2.     Plaintiffs lack associational standing because their members’
                       purported injuries are too speculative.

        Courts “must reject vague and ‘overly speculative’ predictions about ‘future events.’ ” Pub.

Citizen, 297 F. Supp. 3d at 19 (quoting Arpaio v. Obama, 797 F.3d 11, 21 (D.C. Cir. 2015)). This

is especially true for “future actions to be taken by third parties” and for “predictions of future

injury that are ‘not normally susceptible of labelling as true or false.’ ” Arpaio, 797 F.3d at 21

(internal citations omitted).

        Plaintiffs assert that EPA’s approval creates a substantial risk of injury to their members’

interests based on the mere possibility that FDEP—a third party—will grant certain pending permit

applications. Dkt. 31 at 35. These assertions of injury are too speculative to support standing for

Plaintiffs’ claims.

        Despite invoking the “substantial risk” principle, Plaintiffs do not cite the Supreme Court’s

case addressing this issue—Monsanto Co. v. Geertson Seed Farms, 561 U.S. 139, 153 (2010).

That case requires Plaintiffs to establish that EPA’s approval creates (1) a “significant risk” that

FDEP will grant the specific permits their members are concerned about; and (2) if granted, these



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permits would injure their members’ cognizable interests. Id. at 153 n.3; 153-55; Clapper, 568

U.S. at 414 n.5 (questioning whether the “‘substantial risk’ standard is relevant and distinct from

the ‘clearly impending’ requirement”). Plaintiffs have not shown and cannot show either element.

       First, Plaintiffs cannot show that EPA’s approval, which merely transferred pending permit

applications from the Corps to FDEP, creates any new risk of injury. Regardless of EPA’s approval

being challenged, those pending applications would have been adjudicated, and Plaintiffs proffer

no evidence showing that FDEP would be more likely to grant any specific pending applications

than the Corps would. Accordingly, even if FDEP were to grant permit applications of concern,

Plaintiffs could not show that, but for EPA’s approval, the permits would not have been granted.

       Second, and regardless, EPA’s approval did not create significant risk that the specific

permits Plaintiffs’ members are concerned about will be granted. Although EPA’s approval created

the possibility for another agency (FDEP) to grant a pending permit application in the future, that

alone does not confer standing, and Plaintiffs acknowledge that FDEP only “is considering permit

applications.” Dkt. 31 at 35.

       Regardless, showing that EPA’s approval created a “significant risk” that FDEP would

grant the permits Plaintiffs’ members are concerned about would not be enough here. Even if

FDEP approved a permit that the Federal agencies would have denied (a leap that is not justified

here), any such approval would still be subject to challenge by third parties in Florida

administrative and judicial proceedings. A permit approval is not effective during an

administrative challenge, and could ultimately be vacated by the agency or a court of review, which

would end any potential future harm at the State level.8 As a result, Plaintiffs’ purported injuries

arising are too speculative to confer standing.

8
 Plaintiffs also ignore the fact that projects require numerous authorizations before they can
proceed to the construction and operation stage. This is especially true for the projects Plaintiffs’


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       Finally, Plaintiffs’ declarations have not shown that third-party construction and operation

of any of the identified projects would concretely harm their members’ interests. For example, to

show concrete harm related to execution of the Nobles Grade Prospect and the Tamiami Prospect,

Plaintiffs rely on Ann Wiley’s declaration. Dkt. 31-4. Plaintiffs contend that these projects would

injure Wiley’s recreational and professional interests. Dkt. 31 at 36-37. But these injuries are

speculative in light of the scale of these projects in a 700,000-acre preserve, and the fact that Wiley

does not establish that she is engaged in recreation or professional interests in the project area or

in an area that likely would perceptibly be impacted by the projects. Wiley merely states that the

Noble Grades Project “is located approximately three miles southwest” of a “rest stop [that] serves

as an access point to hiking trails.” Dkt. 31-4 at 5, (Wiley Decl. ¶ 13). She does not state that she

regularly uses this rest stop or plans to in the future, or that she can even see the proposed project

area from the rest stop. Similarly, Wiley’s statement that she leads tours through the Everglades

“that go near the boundary of the proposed project site” at an undefined distance from the Tamami

Prospect is insufficiently specific to make her alleged harms concrete.

       Declarant Crooks’ purported injuries fare no better for the Troyer Mine. The closest Crooks

gets to that project is recreating in some unspecified part of the 60,000-acre Corkscrew Regional

Ecosystem Watershed, where that watershed at its nearest point is “three and a half miles away

from the public lands [she] enjoy[s].” Dkt. 31-1 at 16, (Crooks Decl. ¶ 47). Crooks does not claim

that she will be able to see the project from where she recreates or that she will experience any



members express concern about, including the Noble Grade Prospect, Tamiami Prospect, Troyer
Mine, Wastewater Treatment Plant Expansion, and State Road 836. For example, each of these
projects must be authorized by an ERP before proceeding to construction. None of the above
projects have received such authorization yet, except for the Troyer Mine project, which is
awaiting other permit approvals. Notably, the Nobles Grade and Tamiami Prospect projects are
also awaiting National Park Service oil and gas operating permits, under 36 C.F.R., Subpart B,
which have not yet been issued.


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other concrete impacts as a result of the project. Instead, she only declares that vehicle collisions

are responsible for some panther deaths, and that the project will increase traffic and the likelihood

of more panther deaths to an unknown degree. At most, this creates an undefined increase in the

possibility that operations of the project could lead to additional panther deaths, which does not

suffice for standing in Federal court.

        Plaintiffs also fail to concretely show how the expansion of an existing wastewater

treatment plant that is located inland and miles from a state park waterbody and bay would

perceptibly impair their members’ interests in those waterbodies. Dkt. 31 at 38-39. Nor do

Plaintiffs show a concrete or particularized injury due to the State Road 836 project. Id. at 39-40.

Declarant Umpierre merely expresses worries about future, unknown, and imprecise potential

impacts due to the project. If this were sufficient to establish standing, anyone with a concern about

Florida’s ecosystem could establish standing. Umpierre also does not identify any harm that will

perceptibly impair any of her interests given the project’s location and where she recreates.

        For these reasons, declarants’ purported injuries, too, are insufficient to confer standing to

Plaintiffs. Fla. Audubon Soc., 94 F.3d at 667 (“The presence of a particularized risk of injury to

the plaintiff’s interests requires even more exacting scrutiny when the challenged government

action is not one located at a particular ‘site’ ”); cf. Sierra Club v. Jewell, 764 F.3d 1, 6–7 (D.C.

Cir. 2014) (referencing a project’s actual interference with natural vistas); id. (citing Cantrell v.

City of Long Beach, 241 F.3d 674, 681 (9th Cir. 2001) (stating that “[i]f an area can be observed

and enjoyed from adjacent land, plaintiffs need not physically enter the affected area to establish

an injury in fact”).

                3.     Plaintiffs’ alleged organizational injuries do not support their standing.

        Plaintiffs have not shown and cannot show that they have organizational standing to bring

any of their claims because EPA’s approval does not directly conflict with their respective


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organizational interests, and because Plaintiffs’ alleged injures are speculative, implausible, and

non-cognizable. For these reasons, Plaintiffs’ lawsuit should be dismissed in its entirety.

       Plaintiffs assert that EPA’s approval harms them because it creates a substantial risk that

they will suffer organizational injuries from diverted resources; lost benefits of Federal

requirements, rights, and remedies available under NEPA and Section 7 of the ESA; and restricted

access to Federal courts. Dkt. 31 at 41. Based on these alleged injuries, Plaintiffs claim they “have

had to use and will continue to use their resources to counteract these harms.” Id. These assertions

fail as explained below.

                       (i)     There is no direct conflict between EPA’s approval and
                               Plaintiffs’ respective organizational missions.

       Plaintiffs have not shown the requisite “direct conflict” between EPA’s approval and their

missions. PETA, 797 F.3d at 1093-94; Pub. Citizen, 297 F. Supp. 3d at 36–38. EPA’s approval of

Florida’s assumption application has no direct impact on Plaintiffs’ mission, and therefore cannot

directly conflict with it. Instead, EPA’s approval of Florida’s assumption application merely

transferred limited CWA Section 404 authority to Florida as required under statute so that the State

could administer its substantively equivalent program. The only possible conflict with Plaintiffs’

missions would occur indirectly, if at all, and only if and when FDEP implements its program in

a way that allegedly provides less substantive protection than the Corps’ implementation would

have. Because EPA’s approval was neutral with respect to Plaintiffs’ missions, they lack

organizational standing to raise their claims.

                       (ii)    Plaintiffs’ alleged organizational injuries are speculative.

       EPA’s approval of Florida’s assumption application alone causes no direct injury to

Plaintiffs’ activities. As explained above, Plaintiffs cannot manufacture an injury based on their




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alleged past diversion of resources used in an effort to preemptively address unrealized harm based

on their fear of Florida’s possibly unfavorable future adjudications. See also supra Part I.A.1.i.

        Plaintiffs’ prospective claim that EPA’s approval creates a substantial risk of future injury

from having to divert their resources also fails. Plaintiffs identify no concrete and particularized

future instance where they definitely will divert resources away from core programs due to EPA’s

approval. Instead, Plaintiffs state that at some undetermined future date they (1) will challenge an

unknown (and currently non-existent) FDEP-issued Section 404 permit that will require them to

do research and engage experts to obtain [] information” no longer available under Florida’s

program; and (2) will need to submit “new” comments on unidentified permit applications

transferred from the Corps to Florida, despite the fact that Florida’s program provides

environmental protection substantively equivalent to the Corps’ program. Dkt. 31 at 46; Dkt. 31-

1 at 12, (Crooks Decl. ¶ 35). These alleged speculative harms cannot confer standing. See Pub.

Citizen, 297 F. Supp. 3d at 34 (explaining that injury based on an increased risk of harm cannot be

based on “vague generalities” or “subjective apprehensions”); cf. PETA, 797 F.3d at 1096

(estimating $10,000 of diverted resources and a future $3,000 per year to counteract the specific

injury caused by the government’s action to date and in the future). Plaintiffs’ concerns about some

risk that EPA’s approval will cause private landowners to back out of a process to establish a

habitat conservation plan is equally speculative, improperly relying on the future conduct of

multiple third-parties. Pub. Citizen, Inc. v. Trump, 435 F. Supp. 3d 144 155–56 (D.D.C. 2019)

(rejecting standing where injury depends on predictive assumptions potentially involving third

parties).




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                       (iii)   Plaintiffs’ alleged organizational injuries based on deprivation
                               of information are not cognizable.

       Establishing an informational injury requires Plaintiffs to show they (1) have “been

deprived of information that, on [their] interpretation, a statute requires the government or a third

party to disclose it”; and (2) they “suffer[], by being denied access to that information, the type of

harm Congress sought to prevent by requiring disclosure.” Elec. Priv. Info. Ctr., 878 F.3d at 378.

Plaintiffs cannot make these showings.

       Plaintiffs’ alleged informational injuries (Dkt. 31 at 45) arising under the National

Environmental Policy Act (“NEPA”) and the ESA are not cognizable. First, although NEPA

generally requires the disclosure of information to the general public when triggered, the ESA does

not. See generally 16 U.S.C. § 1536; 50 C.F.R. § 402.14 (limiting information disclosure to the

action agency, consulting agency, and project applicant). Furthermore, with respect to NEPA,

Congress decided that EPA action under Section 404, including approval of State 404 programs,

is not subject to NEPA. 33 U.S.C. § 1371(c)(1). Regardless, determining whether NEPA applies

is a case-by-case consideration, and even if it does apply to a particular Section 404 permit

application, the proposed project may be subject to a categorical exclusion or otherwise not require

any environmental review. Am. Rivers v. FERC, 895 F.3d 32, 49–50 (D.C. Cir. 2018); Theodore

Roosevelt Conservation P’ship v. Salazar, 616 F.3d 497, 504 (D.C. Cir. 2010). Separately, NEPA

analysis may still be conducted for projects where FDEP issues a Section 404 permit because that

project requires a Federal authorization triggering NEPA (which, for example, is likely the case

for the Troyer Mine project referenced by Plaintiffs). These facts make claims of informational

injury under NEPA highly speculative.

       Second, the harm Plaintiffs allegedly suffer—i.e., not receiving information they use to

educate the public and advocate—is not the type of harm Congress sought to prevent by requiring



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the disclosure of environmental reviews under NEPA. NEPA’s “twin aims” are to (1) “place[]

upon an agency the obligation to consider every significant aspect of the environmental impact of

a proposed action”; and (2) “ensure[] that the agency will inform the public that it has indeed

considered environmental concerns in its decisionmaking process.” Baltimore Gas & Elec. Co. v.

Nat. Res. Def. Council, Inc., 462 U.S. 87, 97 (1983); see also Dep’t of Transp. v. Pub. Citizen,

Inc., 541 U.S. 752, 754 (2004). These aims do not include disclosing information to help

organizations use that information for educational and general advocacy purposes.

                      (iv)    Plaintiffs’ alleged organizational injuries based on lessened
                              access to Federal courts are not plausible or cognizable.

       Plaintiffs hyperbolically claim that EPA’s approval will shut them out of Federal court and

impose related hardships, including more difficult standing requirements, lacking access to an

administrative record, and facing risks of mandatory fee shifting. See Dkt. at 47-48. This argument

fails for the reasons described above and below.

       First, Plaintiffs do not dispute that they still have extensive administrative and judicial

avenues for legal redress. See supra Argument I.C.1. Plaintiffs provide no legal authority showing

that their preference for a federal forum and procedural rules suffices to confer standing. Florida

law provides abundant and fair procedures for redress, in addition to Plaintiffs’ continual

opportunity to press EPA and other federal agencies to object to or otherwise federalize permits

where warranted.

       Second, Plaintiffs claim that standing requirements in Federal courts are more liberal for

challenges to rulemakings, but they aver nothing about standing requirements related to permit

challenges. Dkt. 31 at 47; Fla. Home Builders Ass’n, 412 So. 2d at 353–54 (providing that pursuant

to State statute “an association must demonstrate that a substantial number of its members,

although not necessarily a majority, are ‘substantially affected’ by the challenged rule” (emphasis



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added)). Moreover, Plaintiffs cite a single and misrepresentative administrative case to incorrectly

suggest that “substantial number” is determined solely in relation to an association’s total number

of members, which would doom Plaintiffs who have “hundreds” of members and some

“thousands” of members. Dkt. 31 at 47. Plaintiffs ignore the weightier and well-established Florida

Supreme Court cases on associational standing. See, e.g., NAACP, Inc., 863 So. 2d at 299. And, as

described above, Plaintiffs overlook that a person who can establish Article III standing

automatically has standing in Florida to challenge a Section 404 permit. Supra Argument I.C.1.

       Fourth, and independently, these are all generalized injuries shared by the general public

and therefore provide no basis for standing. Lujan v. Defenders of Wildlife, 504 U.S. 555, 573–77

(1992). For these reasons, Plaintiffs lack organizational standing to bring their claims.

                       (v)     PETA is meaningfully different from this case.

       Plaintiffs cannot establish standing under PETA. In PETA, the D.C. Circuit determined that

the organization had standing to sue the U.S. Department of Agriculture (“USDA”) for failing to

issue regulations implementing the Animal Welfare Act (“AWA”) as to birds. PETA, 797 F.3d at

1094-97. The court found organizational standing because USDA’s inaction deprived the

organization of (1) AWA information related to birds (USDA inspection reports) and (2) the ability

to file USDA complaints against research facilities using birds or exhibitors of birds. Id. at 1094-

95. In addition, the organization filed declarations identifying actual concrete harm to its

organizational activities, including statements about its preexisting filings of USDA complaints as

to both non-birds under the AWA, its attempts to file complaints as to birds, and the amount of

increased expenditures in response to USDA’s inaction. Id. at 1094-96.

       Plaintiffs’ situation does not fit within PETA. Unlike the organization in PETA, Plaintiffs

cannot show EPA’s approval entirely precludes Plaintiffs from accessing federal court related to

FDEP-issued Section 404 permits. Even if they could, that would merely be the result of the laws


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governing State assumption as set by Congress, and Plaintiffs have not concretely established that

administrative and State-court litigation in Florida would impose additional costs, legal barriers,

or other obstacles vis-à-vis litigating in Federal court. Supra Argument I.C.3.

       Similarly, Plaintiffs’ alleged “loss” of information under ancillary, non-CWA federal

statutes (information to which Plaintiffs have no legal right in this context) is not comparable to

the direct loss of information under the AWA caused by USDA’s refusal to take regulatory action.

Supra Argument I.C.3.iii. Indeed, Plaintiffs cannot show the equivalent “embargo on information”

that occurred in PETA. 797 F.3d at 1096. Nor do any declarants specifically allege that Plaintiffs

will not receive similar substantive information through Florida’s permitting process.

       Finally, and critically absent here, Plaintiffs completely fail to establish any true past or

imminent diversion of organizational resources. As Plaintiffs concede, for at least the past three

years, they have “dedicated considerable resources to opposing Florida’s assumption of the Clean

Water Act’s Section 404 program.” Dkt. 31-1 at 5-6, (Crooks Decl. ¶¶ 14-18). Based on their

admission of expending considerable resources on this issue, Plaintiffs cannot show the requisite

“diversion” of resources here. Even if they could, Plaintiffs have failed to allege any actual or

imminent concrete diversion of resources here. PETA, 797 F.3d at 1096 (identifying dollar-amount

estimates of time spent because of USDA’s withholding of action “not related to this litigation and

related expenses” and annual dollar-amount estimates going forward).

       D.      Section 404’s “Deemed Approved” Provision Renders Plaintiffs’ Injuries Non-
               Redressable and Their Claims Moot by Operation of Law.

       Congress intended the States, not the Federal government, to administer the Section 404

program. See 33 U.S.C. § 1251(b). In furtherance of that overriding objective, Congress required

EPA to act promptly—within 120 days—of receipt of a State 404 application. Within that

timeframe, EPA must approve the program if the State has the requisite legal authority or EPA



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must inform the State of any necessary revisions or modifications. Id. § 1344(h)(2)(B). If no

determination is made within 120 days of receipt of the State application, the State program is

“deemed approved.” Id. § 1344(h)(3). Under D.C. Circuit precedent, this “deemed approved”

provision deprives this Court of jurisdiction for a simple reason: even assuming arguendo that the

Court grants Plaintiffs’ requested relief and vacates EPA’s approval notice, no relief for Plaintiffs

would ensue because Florida’s program would then be “deemed approved” by operation of law.

                 1.     “Deemed approved” provisions create unreviewable congressional
                        action.

          Without “final agency action,” claims brought under the APA must be dismissed. See Fund

for Animals, Inc. v. U.S. Bureau of Land Mgmt., 460 F.3d 13, 18 & n.4 (D.C. Cir. 2006); see also

5 U.S.C. § 704. Importantly here, the D.C. Circuit repeatedly has held that when rules or orders

become effective pursuant to a “deemed approved” provision, they are not reviewable as “final

agency actions.” See Sprint Nextel v. FCC, 508 F.3d 1129 (D.C. Cir. 2007); AT&T Corp. v. FCC,

369 F.3d 554 (D.C. Cir. 2004) (per curiam); Pub. Citizen, Inc. v. FERC, 839 F.3d 1165 (D.C. Cir.

2016). As these cases demonstrate, when an application is “deemed approved” for lapse of time,

there is only “congressional action,” not agency action, and thus, nothing is subject to judicial

review.

          In Sprint Nextel, the D.C. Circuit considered a self-certification process that allowed

entities to petition the Federal Communications Commission (“FCC”) to seek forbearance from

the enforcement of certain regulatory requirements. 508 F.3d 1129 (D.C. Cir. 2007). Similar to

CWA Section 404(h)(3), the statutory provision in Sprint Nextel stated that, if the FCC “does not

deny the petition for failure to meet” certain statutory requirements within one year, the “petition

shall be deemed granted.” 47 U.S.C. § 160(c). Verizon filed a petition for forbearance, and

although the FCC considered the possibility of rejecting the petition, the Commissioners



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deadlocked 2-2, thereby taking no action before the statutory deadline. Consequently, the FCC

issued a statement that the petition was “deemed granted by operation of law.” Sprint Nextel, 508

F.3d at 1130. Competitors challenged this “approval,” and the D.C. Circuit held that the approval

was not the result of any reviewable “agency action” under the APA. Id. at 1132. The court ruled

that “Congress made the decision in [47 U.S.C. § 160(c)] to ‘grant’ forbearance whenever the

[FCC] ‘does not deny’ a carrier’s petition. When the [FCC] failed to deny [the] forbearance petition

within the statutory period, Congress’ decision—not the agency’s—took effect.” Sprint Nextel,

508 F.3d at 1132. Absent reviewable agency action, there was no cognizable claim under the APA.

The Sprint Nextel court was not persuaded that, by declining to review the FCC’s inaction, it could

“enable the [FCC], by simply not acting, to evade judicial review.” Id. at 1133. “[T]hat,” the court

held, “is the consequence of the system Congress mandated,” not an indication of abuse or bad

faith on the part of the agency. Id.

       The D.C. Circuit stated that this holding was “compelled” by its decision in AT&T Corp.

v. FCC, 369 F.3d 554. In AT&T, Verizon was subject to congressionally imposed restrictions that

would expire unless the FCC extended them “by rule or order.” Id. at 556 (quoting 47 U.S.C.

272(f)(1)). The FCC did not extend them, and AT&T, a competitor, filed a petition for review of

the FCC’s “decision to permit the sunset to occur.” Id. at 559. The court dismissed the petition,

holding that AT&T had “incorrectly assume[d] that the decision whether to sunset the [relevant]

safeguards lies with the FCC.” Id. at 560. This assumption, the court explained, was “simply

wrong” because it was “Congress”—not the FCC—that “made the decision to extinguish the

protections of [the safeguards] by operation of law.” Id.

       Almost a decade later, the D.C. Circuit, in Public Citizen v. FERC, elaborated upon the

holdings in Sprint Nextel and AT&T. Public Citizen involved provisions of the Federal Power Act




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that require electric utilities to file their proposed rates with Federal Energy Regulatory

Commission (“FERC”) and that give FERC discretion to hold hearings to determine whether the

rates are just and reasonable. 839 F.3d at 1167; see 16 U.S.C. § 824d. If FERC does not hold

hearings or suspend the rates within 60 days, the rates “shall go into effect.” Id. The petitioners in

Public Citizen sought review of notices that put certain electricity rates into effect after FERC did

not render a determination within 60 days. 839 F.3d at 1167-69. Following Sprint

Nextel and AT&T, the D.C. Circuit concluded that there was simply no agency action to review:

the action occurred by operation of law. Id. at 1170.

       The D.C. Circuit held a deemed-approved provision to generate reviewable agency action

in only one case, Amador County v. Salazar, and that case is clearly distinguishable. 640 F.3d 373

(D.C. Cir. 2011). The statute at issue in Amador County, the Indian Gaming Regulatory Act

(“IGRA”), differs in a crucial respect from CWA Section 404 as well as from the statutes at issue

in AT&T, Sprint Nextel, and Public Citizen. Under IGRA, if the Secretary takes no action on a

gaming compact, that request is “considered to have been approved by the Secretary,” although

“only to the extent the compact is consistent with [IGRA].” 25 U.S.C. § 2710(d)(8)(C). Because

of the statutory limitation in IGRA for actions deemed to have occurred for lapse of time (i.e.,

considered “approved by the Secretary” and “only to the extent” consistent with IGRA), the court

in Amador County distinguished Sprint Nextel and held that the Interior Secretary’s inaction was

reviewable agency action. In the Section 404 context, no such qualifications exist. Thus, as made

clear in D.C. Circuit precedents, where Congress uses “deemed approved” or other similar

language, the resulting automatic approval for lapse of time is not subject to judicial review.




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                2.      Section 404’s deemed approved provision falls within the framework
                        set forth in AT&T, Sprint Nextel, and Public Citizen.

        The Sprint Nextel, AT&T, and Public Citizen decisions should guide this Court to dismiss

Plaintiffs’ claims. As those cases explain, when Congress enacts “deemed approved” provisions,

it is not the relevant agency that acts. Instead, it is Congress, and that decision cannot be challenged

under the APA.

        Consistent with Sprint Nextel, if EPA’s approval is set aside, CWA Section 404(h)(3)’s

“deemed approved” provision would apply because EPA would not have taken action on Florida’s

program submission within 120 days. See 33 U.S.C. § 1344(h)(3). Indeed, if this Court were to

vacate EPA’s approval of Florida’s program, the legal status of the program would be as if EPA

never acted on Florida’s request in the first place. Khadr v. United States, 529 F.3d 1112, 1116

(D.C. Cir. 2008) (explaining that “[i]t has long been well established” that vacatur of a decision

leaves it “ ‘without any validity, force, or effect,’ and requires that it be treated thereafter as though

it never existed.” (quoting Butler v. Eaton, 141 U.S. 240, 244 (1891)); Friends of the Everglades

v. S. Fla. Water Mgmt. Dist., 570 F.3d 1210, 1218 (11th Cir. 2009) (“Parts of decisions that are

vacated and have not been reinstated have no legal effect whatever. They are void.” (citation and

internal quotation marks omitted)); Animal Legal v. Veneman, 490 F.3d 725, 730 (9th Cir. 2007)

(“[T]he general rule [is] that when a court vacates an order previously entered, the legal status is

the same as if the order never existed.”). And, if this Court were to remand EPA’s decision,

Plaintiffs alleged injuries would still not be redressed because the 120-day statutory time period

would have lapsed, rendering Florida’s program “deemed approved” per 33 U.S.C. § 1344(h)(3).

        The provision does not provide that, as a result of EPA’s inaction, the program is, in any

way, approved by EPA. See also 40 C.F.R. § 232.2 (defining “Approved Program” as either a

program “approved by the Regional Administrator” or a program “which is deemed approved,”



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suggesting    programs      “deemed     approved”     are   not   “approved     by    the   Regional

Administrator”). Thus, EPA inaction on a program’s deemed approval would not be agency action,

but an action of Congress.

                3.      Plaintiffs’ alleged injuries are not redressable and their claims are moot
                        because a court order vacating EPA’s approval notice would
                        automatically trigger a “deemed approved” situation.

        It is well-settled that courts lack jurisdiction to hear cases in which the plaintiff fails to

identify redressable injuries or asserts moot claims. See Kaspersky Lab, Inc. v. U.S. Dep’t of

Homeland Sec., 909 F.3d 446, 465 (D.C. Cir. 2018) (redressability); see Conservation Force, Inc.

v. Jewell, 733 F.3d 1200, 1204 (D.C. Cir. 2013) (mootness). None of Plaintiffs’ alleged injuries

are redressable and all of their claims are moot because their requested remedy—vacatur—would

necessarily result in the deemed approved situation described above, resulting in no change to the

legal landscape and therefore erasing Plaintiffs’ claims against EPA. As such, this Court lacks

jurisdiction to entertain Plaintiffs’ claims.

        Section 404’s “deemed approved” provision was added by the 1977 CWA amendments:

“If the Administrator fails to make a determination with respect to a State program within the 120

days provided, the program is deemed approved and the Administrator must so notify the State

and the Secretary who shall suspend the issuance of permits under subsections (a) and (e) of section

404 for activities covered by the State program.” H. Rep. No. 95-890, 101 (1977), reprinted in

1977 U.S.C.C.A.N. 4424. In other words, states are entitled to a decision on their Section 404

assumption applications in 120 days or less, and EPA “cannot disapprove a [State 404] program

because [EPA] has not completed [its] review of it—the disapproval must be a positive one that

the State does not have the requisite authority.” S. Rep. No. 95-370, at 358 (1977). While States

may voluntarily agree to extend the 120-day timeline, nothing in the statute or regulations require

them to do so. 40 C.F.R. § 233.15(g).


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       Congress established the 120-day “deemed approved” framework to prevent delays in

achieving the overarching congressional policy objective: “that the States . . . implement the permit

programs under [Section 404].” 33 U.S.C. § 1251(b); see Eagle-Picher Indus. v. EPA, 759 F.2d

905, 911 (D.C. Cir. 1985) (noting that “timeliness requirements reflect ‘a deliberate congressional

choice to impose statutory finality’ ”) (citation omitted). The legislative history behind Section

404(h) demonstrates Congress’ intention that State program approvals should be “expedited.” 122

Cong. Rec. S28,771-99, S28,774 (1976). To ensure approvals are expedited, Congress modeled

certain aspects of the Section 404 approval process after Section 402’s process. Id. But Congress

went even further by including a “deemed approved” provision that is absent from the Section 402

process. In fact, earlier versions of the 1977 amendments would have granted automatic approval

of Section 404 programs to “[a]t least twenty-eight State entities which have obtained approval

[under Section 402],” where those states “should be able to assume the [404] program

immediately.” Id. (emphasis added). Though the final statutory amendment in 1977 did not include

automatic approval for states with Section 402 provisions, the “deemed approved” provision

combined with the 120-day timeframe provides an expedited path for States seeking to administer

their own Section 404 programs.

       In the current case, EPA received a complete description of Florida’s program on August

20, 2020. (AR-0569). Receipt of Florida’s application triggered a 120-day deadline for EPA to

approve Florida’s application, i.e., by December 17, 2020. (AR-0569 at 2). EPA and Florida

worked intensively to complete a robust process for review, Federal consultation and input, Tribal

engagement, and other steps. See supra Background II.B (discussing EPA’s approval process of

Florida’s application). At the end of that time period, on December 17, 2020, EPA notified the

Governor of Florida that EPA approved Florida’s program, which was subsequently published in




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the Federal Register a few days later. 85 Fed. Reg. at 83,553. Importantly, if EPA had taken no

action on Florida’s submission by December 17, 2020, Congress, through operation of law, would

have deemed Florida’s program approved (and thereby unreviewable). Similarly, if this Court were

to set aside EPA’s approval, Florida’s program would be “deemed approved” because more than

120 days would have passed since EPA received Florida’s program description. See 33 U.S.C. §

1344(h)(3). And if this were to occur, the legal landscape would not change, and Plaintiffs’ alleged

injuries would still not be redressed. Furthermore, Plaintiffs’ claims against EPA would disappear,

thereby divesting this Court of jurisdiction. Therefore, this Court should dismiss all of Plaintiffs’

claims for lack of jurisdiction because Plaintiffs’ alleged injuries are not redressable and their

claims are rendered moot by operation of law.

       Even if Plaintiffs could establish standing (which they cannot for the myriad reasons

explained above), the “deemed approved” provision categorically places EPA approval of State

404 programs outside of judicial review. Congress established a system where EPA’s failure to

take any action clearly results in no judicial review, so it would be illogical to impose judicial

scrutiny over EPA’s affirmative decision to review, consider, and approve a State program

application, especially where Congress provided a clear oversight and withdrawal mechanism to

ensure compliance with Federal requirements as the State program is implemented (see supra

Background I.B). Moreover, binding precedent in this Circuit strongly suggests that EPA loses

jurisdiction over a State 404 application once the 120-day timeframe elapses. See Gottlieb v. Pena,

41 F.3d 730, 734 (D.C. Cir. 1994) (discussing situations where an agency may lose jurisdiction

over a matter for failing to take action within a statutorily required timeframe where Congress has

established consequences for inaction).




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       Likewise, if this Court were to remand EPA’s determination without vacatur, which

Plaintiffs do not request and Florida opposes, this Court still could not order EPA to take specific

actions other than to review its approval in accordance with its non-discretionary duty. See Huron

v. Berry, 12 F. Supp. 3d 46, 55 (D.D.C. 2013) (“When an action is left to an agency's discretion, a

court ‘has no power to specify what the action must be.’ ”) (quoting Norton, 542 U.S. at 65). Even

in such a situation, EPA could not withdraw its approval without first providing Florida time to

take “appropriate corrective actions.” See 33 U.S.C. § 1344(i). It is merely speculative that this

form of relief would redress Plaintiffs’ alleged injuries. Lujan, 504 U.S. at 561. Thus, Plaintiffs’

claims should be dismissed on this basis as well.

II.    Claims 8 and 9 Fail on the Merits.

       Even assuming Plaintiffs assert justiciable claims (which Florida does not believe is the

case), their “30-day waiting period” and “codification” claims are meritless; thus, Claims 8 and 9

must be dismissed. Other than one case out of the Ninth Circuit (which was reversed by the U.S.

Supreme Court), no court has vacated any prior EPA approval of a State program under Section

402 or Section 404, and certainly not on non-substantive procedural grounds like those raised by

Plaintiffs in Claims 8 and 9. Indeed, to prevail on these two claims, Plaintiffs must successfully

convince this Court to contravene clear congressional policy in favor of prompt transfers of Section

404 programs to the State and: (1) hold that EPA’s approval of a State program is not effective for

at least 30 days from the date of publication in the Federal Register, notwithstanding a 50-year

track record of EPA approving State programs via notices that are effective immediately or very

soon thereafter (and certainly not requiring anything approaching a 30-day waiting period); and

(2) hold that EPA’s approval of a State program is not effective until codification in the C.F.R.,

which also has never been recognized by EPA or any court reviewing the almost 50 times when




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EPA has approved a State program under CWA Sections 402 or 404. Regardless, to the extent

either requirement actually applies, any error would be non-prejudicial in this context.

       A.      EPA Approval Notices Are Effective Upon Publication in the Federal Register
               and No Additional Waiting Period is Required.

       Consistent with its regulations and prior practice, EPA sent a notice letter on December 17,

2020 to the Governor of Florida formally approving Florida’s program, which, as provided under

40 C.F.R. § 233.15(h), became effective upon publication in the Federal Register on December

22, 2020. See 85 Fed. Reg. at 83,553. Even if EPA took no action within 120 days of receipt of

Florida’s application, the application would have been “deemed approved” by statute immediately.

33 U.S.C. § 1344(h)(3). Yet Plaintiffs perceive error in EPA’s decision to make its approval of

Florida’s program effective upon publication in the Federal Register instead of 30 days after

publication. In Plaintiffs’ view, the approval of Florida’s program should not have been effective

until January 21, 2021. Plaintiffs are incorrect.

       As a threshold matter, Plaintiffs entirely ignore the proper standard of review used to

determine whether EPA’s choice of adjudication to approve Florida’s assumption application was

lawful. Instead of addressing whether EPA abused its broad discretion in deciding to approve

Florida’s assumption application by adjudication instead of by rulemaking, Plaintiffs’ arguments

address whether EPA’s adjudicatory approval shares any qualities with rulemaking. Compare, e.g.,

Dkt. 31 at 19 (incorrectly focusing on whether an action has the “force of law,” because that

characteristic applies to both adjudications and rulemakings), with Friends of Animals v.

Bernhardt, 961 F.3d 1197, 1206 (D.C. Cir. 2020) (“[I]t is well known that under the APA an

agency has virtually unlimited discretion as to the procedures it uses to implement its legal/policy

choices.”). To do this, Plaintiffs primarily rely on inapposite authority where the question before

the court was whether an agency’s adoption of a policy statement was, in reality, an adoption of a



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rulemaking triggering APA notice-and-comment requirements. Dkt. 31 at 19. When reviewing this

distinct issue using the proper legal framework, EPA’s choice to approve Florida’s assumption

application by adjudication was entirely consistent with five decades of EPA practice and was a

reasonable exercise of its discretion. Cf. Dkt. 35 at 23-29.

       Furthermore, in its brief, the United States has shown that EPA’s approach here was

consistent with the Agency’s past practice dating back to the 1970s. Dkt. 35 at 29-32.

       The formal distinctions between adjudication and substantive rules are illusory here. For

example, EPA provided greater opportunity for public notice and comment here than would have

been required for either adjudication or rulemaking. Plaintiffs acknowledge, as they must, that

EPA did not employ a 30-day waiting period when EPA approved the Section 404 programs for

Michigan and New Jersey. Nor has EPA applied that waiting period in the many prior instances of

EPA approval of State CWA programs. That settled approach is consistent with the statutory and

regulatory mandate for prompt approval of State applications. The Supreme Court has cautioned

against allowing hyper-technical arguments (like those advanced by Plaintiffs) to subvert the

lawful transfer of authority from the Federal to a State government. See Nat’l Ass’n of Home

Builders v. Defenders of Wildlife, 551 U.S. 644, 659 (2007) (rejecting notion that a “stray statement

[in the Federal Register], which could have had no effect on the underlying agency action being

challenged, requires that we further delay the transfer of permitting authority to Arizona by

remanding to the agency for clarification” (citations omitted)).

       In their motion for summary judgment, Plaintiffs dodge this obvious point with a bait-and-

switch tactic: they argue that the law requires a 30-day waiting period from the date of publication

in the Federal Register and spotlight that the approval of the Michigan and New Jersey programs

were not effective for more than 30 days from the date of the notice of approval. They fail to




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acknowledge that those examples clearly contradict their own theory because one was effective

immediately upon publication in the Federal Register and the other was effective within 14 days

of publication in the Federal Register.

        Recognizing this flaw in their line of reasoning, Plaintiffs cite purported “good cause”

language in the Federal Register notices for the Michigan and New Jersey approvals. But neither

of those notices actually refer to “good cause.” The notices simply state: “Since this approval, in

large part, simply ratifies State regulations and requirements already in effect under State law,

EPA is publishing this approval, effective immediately. This will enable [Michigan/New Jersey] to

begin immediately regulating discharges of dredged or fill material under the federally approved

program.” 49 Fed. Reg. at 38,947 (emphasis added); 59 Fed. Reg. at 9,933 (same language). A

plain reading of those notices reflects that EPA did not view any 30-day waiting period as

applicable in the first place.

        For the foregoing reasons, Plaintiffs’ Claim 8 must fail.

        B.      Codification in the C.F.R. Is Not a Prerequisite for State Assumption.

        Plaintiffs contend that EPA’s approval had no legal effect because the Agency did not

codify Florida’s program in the Code of Federal Regulations. Dkt. 31 at 29-32. Plaintiffs’ argument

lacks merit.

        First, Plaintiffs’ argument fails because under its legal theory the “codification

requirement” applies only to substantive rules. As addressed above, EPA reasonably exercised its

discretion to approve Florida’s assumption application by adjudication.

        Second, even assuming EPA’s adjudicatory approval was a rulemaking, Plaintiffs’ legal

theory lacks merit. According to Plaintiffs, (1) the Federal Register Act requires the codification

of substantive rules, (2) the failure of an agency to codify a substantive rule makes that rule




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ineffective, and (3) therefore EPA’s failure to codify Florida’s program renders the program

ineffective. Id. The legal premise to Plaintiffs’ argument is incorrect.

        Citing 44 U.S.C. § 1510(a), Plaintiffs declare that agencies are legally required to codify

final substantive rules in the C.F.R. Id. at 29. But nothing in that provision requires an agency to

codify substantive rules. Instead, that provision merely provides that the Administrative

Committee of the Federal Register may require codification in certain circumstances.

        Plaintiffs’ reliance on dicta in a footnote in Simmons is unpersuasive. In Simmons, the court

held unlawful an Interstate Commerce Committee (“ICC”) action because the basis supporting that

action was not set forth in the relevant rulemaking but came from a statement of policy that had

no general legal effect. Simmons v. I.C.C., 757 F.2d 296, 299-300 (D.C. Cir. 1985). As an aside,

the court stated in a footnote that the fact that the ICC had not published the policy statement in

the CFR showed that the agency did not intend for that statement to have general applicability (i.e.,

be legally effective). Id. at 300 n.2.

        Plaintiffs also reference 1 C.F.R. § 21.1, which does impose a requirement for codification,

but importantly, that requirement only applies to a “document that is subject to codification.”

Plaintiffs fail to identify any authority showing that EPA’s approval of a State’s assumption

application is a document that is subject to codification None exists.

        Plaintiffs appear to be asserting that because EPA’s approval ultimately allows Florida to

administer the State’s Section 404 program, EPA is required to publish Florida’s State laws in the

C.F.R. Again, Plaintiffs provide no apposite authority to support this novel position that Federal

agencies are required to publish State laws in the C.F.R. That EPA voluntarily has published State

programs in the C.F.R. in the past does not translate into a legal obligation for the Agency to do

so in the future. Cf. Dkt. 35 at 32-33.




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       Additionally, the Federal Register Act’s codification provision was in place in 1968, 82

Stat. 1277, and EPA has never been required to await codification to make a State CWA program

effective. Where, as here, codification would simply reference the State program that has already

been adopted into State law and approved by EPA, codification is not material to the validity of

the program. Accordingly, Plaintiffs’ claim lacks merit.

       C.      Even if the 30-Day Waiting Period and/or Codification Are Prerequisites, the
               State of Florida should not be deprived of its program approval on the basis
               of such harmless error.

       In reviewing APA claims, courts must take “due account . . . of the rule of prejudicial error”

(i.e., the “harmless error rule”). 5 U.S.C. § 706. Under this rule, a party alleging that an agency

violated the APA must show that the error prejudiced the party, which generally is “not ... a

particularly onerous requirement.” See Shinseki v. Sanders, 556 U.S. 396, 410 (2009); Jicarilla

Apache Nation v. U.S. Dep’t of Interior, 613 F.3d 1112, 1121 (D.C. Cir. 2010). If the prejudice is

obvious to the court, then the party need not show anything further. Jicarilla, 613 F.3d at 1121.

However, where the prejudice is not obvious, “the party seeking reversal normally must explain

why the erroneous ruling caused harm.” Shinseki, 556 U.S. at 410.

       Assuming it was required, the lack of a 30-day waiting period in this context did not

prejudice Plaintiffs or their members. First, as explained above, neither Plaintiffs nor their

members lost any procedural rights to which they were entitled. The 30-day waiting period is

designed to afford persons regulated by action at issue a chance to adjust. Here EPA’s approval

applied only to Florida, the applicant. In other words, EPA’s approval “imposed no new regulatory

burdens or requirements to which” Plaintiffs or their members “had to adjust.” Am. Bankers Ass’n

v. Nat’l Credit Union Admin., 38 F. Supp. 2d 114, 139–40 (D.D.C. 1999).

       Second, even assuming the 30-day waiting period was designed to protect them, Plaintiffs

suffered no prejudice from its absence because the past presidential administration rejected


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Plaintiffs’ request, and the new administration (both before and after inauguration) did not take a

different stance about EPA’s approval during the relevant 30-day time period. Any alleged

prejudice from losing five business hours on January 20, 2021, during which time Plaintiffs may

have hoped that the new administration would have reversed course is not credible in light of the

time that has elapsed since.

       Third, the proper remedy for such a violation is to simply make the action effective on the

alleged correct date—i.e., January 21, 2021. Importantly, Plaintiffs suffered no prejudice during

the 30-day window because (1) FDEP did not approve any individual Section 404 permits, let

alone the ones Plaintiffs and their members have expressed concern about; and (2) granting the

proper relief here would not restore Plaintiffs’ alleged movement of their existing resources from

one program to another. Regardless, any such “prejudice” from Plaintiffs moving their resources

would be “not only negligible, [but also] not of the kind that § 553(d) was principally adopted to

protect against.” Am. Bankers Ass’n, 38 F. Supp. 2d at 140 (citing Omnipoint Corp. v.

FCC, 78 F.3d 620 at 630 (D.D.C. 1996)).

       Likewise, even if codification in the C.F.R. were required here (which it is not), EPA

already commenced the codification process (as acknowledged in Plaintiffs’ notice).9 Plaintiffs’

brief specifies no prejudice or injury traceable to EPA’s delayed codification. Dkt. 31 at 48-49.

Nor could Plaintiffs identify any such prejudice from delayed codification, as the only plausible

theory of prejudice in that circumstance would be that Plaintiffs lacked notice of the specific

provisions of Florida’s program due to their lack of codification. Any such argument, which

Plaintiffs have not made and therefore waived, would not be credible given that Plaintiffs have



9
 See EPA, Codifying EPA’s Adjudicatory Decision on Florida’s Clean Water Act Section 404
Program Request (Jan. 14, 2021), available at https://www.epa.gov/sites/production/files/2021-
01/documents/pre-publication_frn-_fl_404_codification_final_rule_.pdf.


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been tracking Florida’s assumption application, and that Florida’s final Section 404 regulatory

program has been publicly available since June 2020 when it was finalized.

       Accordingly, even if Plaintiffs were correct that a 30-day delay and codification were

required, they would not be entitled to relief on Claims 8 and 9 under the rule of harmless error.

                                         CONCLUSION

       Florida is committed—constitutionally, statutorily, and financially—to the protection of

the State’s water resources. Florida’s citizens demand it and deserve it. With shared stewardship

responsibilities with Federal agencies, Florida is now fully and properly administering its own

Section 404 Program consistent with the congressional objectives set forth in the CWA. Though

Plaintiffs may prefer a Federal program, that is not the preference of Congress nor is it the will of

the people of Florida. Indeed, Congress’ “deemed approval” language precludes Plaintiffs’ entire

action here. Furthermore, in light of Florida’s robust program and the applicable statutory and

regulatory structure providing for continued EPA oversight and involvement, neither Plaintiffs nor

their members suffer any cognizable injury from EPA’s approval of Florida’s program that would

give them Article III standing to bring their claims. Finally, and independently, Plaintiffs’

procedural claims lack merit. Accordingly, Florida Intervenors’ cross-motion to dismiss all of

Plaintiffs’ claims under FRCP 12(b)(1) and 12(b)(6) should be granted, and Plaintiffs’ request for

partial summary judgment should be denied. Alternatively, and as requested by the United States,

partial summary judgment should be entered in the United States’ and Florida Intervenors’ favor,

and Plaintiffs’ request for partial summary judgment should be denied.




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Dated: April 26, 2021.                   Respectfully submitted,
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                              CERTIFICATE OF SERVICE

      I hereby certify that on this 26th day of April 2021, I electronically filed the foregoing

document using the CM/ECF system. Service was accomplished by the CM/ECF system.


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